Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 1 of 148 PageID 1262




             IN THE UNTIED STATES DISTRICT COURT FOR THE
                      MIDDLE DISTRICT OF FLORIDA
                        JACKSONVILLE DIVISION


     CLIFTON MCNEIL BROOKS,

           Petitioner.
     v.                                    CASE NO. 3:19-cv-787-MMH-MCR

     MARK S. INCH, Secretary of the
     Florida Department of Corrections
     (FDC).

           Respondent.




                         FDC’S EXHIBIT 23
                SUPPLEMENTAL RECORD VOL 5

      DIRECT APPEAL - 1D13-1073 - Depositions
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 2 of 148 PageID 1263


                                                                                 j/3,,/ /9833
                             ,          IN THE
                     1st District Court of Appeal
                         Tallahassee, Florida

                                              Case No.: 16-2012-CF-006884-AXXX-MA
                                                        Division CR-E

                                           Appeal No.: 1D13-1073



    NOT FOR PUBLIC DISCLOSURE
                                                                   RONNIE FUSSELL,
         CLIFTON BROOKS,                 Appellant�
                                                                        CLERK
                     vs                                           OF THE CIRCUIT AND
         STATE OF FLORIDA,               Appellee�                 COUNTY COURTS




                            RECORD ON APPEAL
                             SUPPLEMENTAL VOLUME 3

                                 Appeal from the Circuit Court

                                    Duval County, Florida



                       Before the Honorable Judge Tatiana Salvador




        PUBLIC DEFENDER,                                         ATTORNEY GENERA_L,
        2N°. JUDICIAL CIRCUIT
        FOR APPELLANT                                            FOR APPELLEE
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 3 of 148 PageID 1264




                                     IN THE CIRCUIT COURT OF THE FOURTH
                                     JUDICIAL CIRCUIT, IN AND FOR DUVAL
                                     COUNTY, FLORIDA

         CLIFTON BROOKS,              CASE NO: 16-2012-CF-006884-AXXX-MA
                                               DIVISION CR-E
                       APPELLANT


         STATE OF FLORIDA,       APPEAL NO: _1_01_ 3_ 10
                                                      -_ _7_ 3_______
                        APPELLEE


                             SUPPLEMENTAL VOLUME 3

         INSTRUMENT                                     DATE FILED   PAGE
         TRANSCRIPT OF THE DEPOSITION OF DONNA          07/16/14     1-86
         GRADEN, J.M., AND                   TAKEN
         ON OCTOBER 31, 2012
         TRANSCRIPT OF THE DEPOSITION OF                07/17/14     87-139
         SHANTELL HARRIS AND JOSE RUIZ TAKEN ON
         DECEMBER 13, 2012
         SUPPLEMENTAL DESIGNATION TO THE COURT          07/18/14     140-144
         REPORTER AND DIRECTIONS TO THE CLERK
         CERTIFICATE OF CLERK

                                     ***END***




                                     Page 1 of 1
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 4 of 148 PageID 1265
     Filing# 15954521 Electron     Filed 07/16/2014 07:52:36 AM




         1                                            IN THE CIRCUIT COURT, FOURTH
                                                      JUDICIAL CIRCUIT, IN AND FOR
         2                                            DUVAL COUNTY, FLORIDA
         3                                            CASE NO.:· 2012-68840-CFA
                                                      DIVISION: CR-E
         4
               STATE OF FLORIDA
         5
               vs.
         6
               CLIFTON BROOKS,
         7
                                 Defendant.
         8

         9

        10     STATE OF FLORIDA

       11      COUNTY OF DUVAL           )·   ..

       12              Depositions of DONNA.GRADEN, J.M., and

       13                    , taken on behalf of the Defendant,

       14      pursuant to Notice of Taking Deposition in the

       15      above-entitled action, on Wednesday, October 31st,

        16     2012, at 2:09 p.m., at the State Attorney's Office,

       17      220 East Bay Street, 1st Floor,. Jacksonville,

       18      Florida, before Angela Reichenbach, Florida

       19      Professional Reporter and Notary Public in and for

       20      the State of Florida at Large.

       21

       22

       23

       24

       25




                                                   PAGE# 1 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 5 of 148 PageID 1266


                                                                           2




        1                    A P P E A R A N C E S

        2              ANNA HIXON,   Esquire

        3              Off·ice of the State Attorney
                       Fourth Judicial Circuit
        4              Jacksonville, Florida 32202
        5              Appearing on behalf of the State,

        6

        7

        8              DARCY GALNOR, ·Esquire
        9              Office of the Public Defender
                       407 North Laura Street
       10              Jacksonville, Florida 32202

       11              Appearing on behalf of the Defendant.

       12

       13

       14   ALSO PRESENT:
                 Scarlett Tompkins, Victim's Advocate
       15

       16

       17

       18

       19

       20

       21

       22

       23

       24

       25




                                 PAGE# 2 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 6 of 148 PageID 1267


                                                                          3




        1                           I N D E X

        2   WITNESSES:

        3   DONNA GRADEN
            DIRECT EXAMINATION BY MS. GALNOR ............•. � ... 4
        4

        5   J.M.
            DIRECT EXAMINATION BY MS. GALNOR................. 36
        6

        7
            DIRECT EXAMINATION BY MS. GALNOR .................67
        8

        9

       10

       11                    N O   E X H I B I T S

       12

       13

       14

       15

       16

       17

       18

       19

       20

       21

       22

       23

       24

       25




                                   PAGE# 3 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 7 of 148 PageID 1268


                                                                           4



        1                    S T I P U L A T I O N
        2             It was stipulated and agreed by and between
        3   counsel for the respective parties and the witnesses,
        4   ·that the reading and signing of the deposition by the
       ,5   witnesses be waived.
        6
        7                         DONNA GRADEN,

        8   having been produced and first duly sworn as a
        9   witness, and having responded "Yes" to the oath
       10   testified as follows:
       11                       DIRECT EXAMINATION
       12   BY MS. GALNOR:
       13        Q     Could you please state your name?
       14        A     Donna Graden.
       15        Q     And, Ms. Graden, what's your date of
       16   birth?
       17        A     9/22 of 1970.
       18        Q    What's your current address?

       19        A     3939 MacGregor Drive, Jacksonville,
       20   Florida 32210.
       21        Q     Who do you live there with?
       22        A     My children.
       23        Q     And tell me how many children you have.

       24        A     Three.

       25        Q     What are their names?




                                   PAGE# 4 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 8 of 148 PageID 1269


                                                                             5



        1        A        Breon Graden,                        and Jacobi
        2             .

        3         Q       Now,            and Jacobi, they have the same

        4   last name.      Do they have the same father?

        5        A        Yes.     They're twins.

        6        Q        They are twins.      Okay.     What about Breon?
        7        A        No.      They don't have the same father..
        8        Q        Huh?
        9        A        No.

       10        Q        Is that a male or a female?

       11        A        Mal·e.

       12        Q        How old is he?

       13        A        23.

       14        Q        And how old are the twins?

       15        A        16.

       16        Q        We're here today in the case of the State

       17   of Florida versus Clifton Brooks.            Do you know

       18   Mr. Brooks?

       19        A        Yes.

       20        Q        And how do you know him?

       21        A        He's my children uncle.

       22        Q        So he is the brother to who?

       23        A                  and Jacobi's father, William

       24

       25        Q        How long have you known him?




                                        PAGE# 5 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 9 of 148 PageID 1270


                                                                           6



        1         A       17 years, 16 years.

        2         Q       And            and Jacobi, two -- two females?
        3         A       A boy.and a girl.
        4         Q       A boy and a girl.      Was there a point that
        5   Mr. Brooks was living with you?

        6         A       Yes, ma'am.
        7         Q       And what were the circumstances of that?
        8   Why was he living there?

        9         A       The house was in disrepair once.      His
       10   lights was off another time.          There's a whole bunch
       11   of reasons.· Just always lived there from the time

       12   that.they came to see my children.         The� never left,

       13         Q       So would he live there off and on or

       14   ste�.dily'?

       15         A       Off and.on.

       16         Q       Off and on'?

       17         A       Because he always had the house in

       18   Sherwood, but he was sleeping and showering and

       19   everything at my house to be around his brother.

       20         Q       So was -- the twins' father, was he living

       21   with you also at the time?

       22         A       Yes, ma'am.

       23         Q       And do you have any contact with him -­

       24         A       Very little.

       25         Q       -- as of lately'?




                                     PAGE# 6 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 10 of 148 PageID 1271


                                                                           7




         l          A   Very little.

         2          Q   You say very little.     How often would you
         3   say?

         4          A   I haven't talked to him since July of last
         5   year when his father died.

         6          Q   July of 2000- --

         7          A   I   11 •

         8          Q   -- 11.     I have some police reports here
         9   that indicate that back on January 4th of this year,
        10   so shortly after New Year's Eve, you called the
        11   police and told them that your daughter had been

        12   sexually molested by Clifton Brooks?

        13          A   Yes.

        14          Q   What prompted you to call the police?

        15          A   My daughter and I       my daughter was going

        16   through a lot of outbursts of anger and just misery.

        17   And we had gotten into I guess -- I would say we -­

        18   it wasn't even an argument.      I just asked her why

        19   are you so nasty and hateful.      I'm sick, possibly

        20   dying.· Why am I your enemy?      An? she just broke

        21   down and said that the world's crashing in on her

        22   and I never cared anything about her because he

        23   mol ested her and we acted like it didn't even phase

        24   us, and it was crazy.

        25          Q   There are a few things I want to ask you




                                     PAGE# 7 ()F 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 11 of 148 PageID 1272


                                                                           8



        1    about that.       First of all, you said ·that you were

         2   sick.       Can you explain to me what is going on.

         3           A      I'm in end stage renal failure, and I have

         4   a. disease called diabetic gastroparesis, which is
        5    the paralysis of my stomach muscles,          My body does

         6   not digest food correctly.         I don't have regular

         7   �owel movements.       The food will accu�ulate in my

         8   body until it becomes -- well, they call it bezoars,

         9   but sour, and then I start to vomi� and then I don't

        10   have any control over my bowels.           I go from

        11   constipation to diarrhea in no time.

        12           Q      I assume you're undergoing treatment for

        13   that?

        14           A      Yes, ma'am.

        15           Q      Do you know what the prognosis is?

        16           A      No, ma'am.    There's nd cure f�r the

        17   disease and, like · I said, I 'm in end-stage renal

        18   failure.       I have yet to complete the procedure to

        19   even see if I even qualify for a kidney because I'm

        20   always sick.       I am      in fact, when I'm done here,

        21   I'm literally walking out of here and checking

        22   myself into St. Vincent's.

        23           Q      Okay.

        24           A      My bed' is already ready.

        25           Q      When did these .medical issues arise?




                                         PAGE# 8 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 12 of 148 PageID 1273


                                                                               9




         1            A    . I've been diabetic for 23 yea�s, but in
         2    2004 is when I wis diagnosed �ith the gastroparesis
         3    and at that point they said there was nothing else
         4    that they could do except for make me-comfortable.
         5            Q    Now, is·this the first time that
         6    had ever told you that she was molested? .
         7            A    Molested, yes.      The first time ·that she
         8    ever spoke of him doing something vile, no.
         9            Q    Okay.    And on January 4th when she told
       10     you, did you immediately call the police or was it a
        11    couple of days later?
        12            A   ·. 'rmmediately.
        13            Q     Immediately.     Okay.   And explain to me
        14    what she told you before that he had --         he   had done.
       15             A     He was living with us on Greenbriar -- the
       · 16   address there is 3438.         When he was living with us
        17    on Greenbriar, I         it waa during one of the times
        18    that I was sick, so I was laying on the living room
        19    'floor.     He thought that I was still in -- I guess

        20    going through the episode of vomiting,          And she came
        21    out of the bathroom -- well, out of the back of the

       22     house shaking and like in shock saying that he had

        23    just showed her his penis arid asked her did she want

       24     some.

        25                  So at that iime I got my children up.         I




                                        PAGE# 9 OF 144-
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 13 of 148 PageID 1274


                                                                          10



        1    woke up my son.      He's 23 now.    I think he was 16 at

        2    that time.     I woke him up, got the twins up.     We got

        3    in the car.     I went in my sister's house, sat down

         4   and talked with my sister about it because he's

         5   known to have carried guns and act very belligerent.

         6                I went -- went to her father's house to
         7   get her father because I felt like that it was

         8   you know, it would come into an altercation and .. got

         9   oack to my sister's house, called the police, and

        10   the police met me at my house.

        11                And. at that time they came out.    They

        12   talked with my daughter.        It was a white officer and

        13   a black officer.        They talked with •Y daughter.

       14    They went in and spoke with him and came back out

        15   and said to me --

        16        Q       Him meaning Clifton?

        17        A       Clifton.

        18        Q       Okay.

        19        A       They came back out and said to me that

        20   they believed that it was just an accident becaus�

        21   the pants that he had on at that time -- the black

        22   officer -- the pants that he had on at that time did

        23   not have rubber in the waist and that they came down

        24   several times when they were patting him down and

        25   questioning him, and that they thought it was a




                                       PAGE# 10 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 14 of 148 PageID 1275


                                                                          11



         1   mistake.

        2                  So I told him that he had to leave my
        3    house.      They told me that they couldn' t -- well, the

        4    black officer said that they couldn' t evict- -- they
        5    couldn't put him out.         It was in illegal eviction.

        6    The white officer called his sergeant and proceeded
        7    to put him out of my house.
         8           Q     But no one was ever arrested or prosecuted
        9    for that?

        10        A        No.

        11           Q     Do you remember what kind of pants he had
       12    on during that time?

       13         A        Sweatpants.

       14            Q     Do you remember that they fell down easily

       15    or

       16         A        I don't remember.     That's what they said

       17    to me.      I do not remember whether or not those

       18    pants        like I said, I was laying on the floor

       19    sick, so in between the time she told me that and

       20    the police came, I didn't really see him.         I got my

       21    children and went out the door.

       22            Q     Did she ever tell you anything more than

       23    his pants fell down and -- or I guess he showed her

       24    his penis

       25            A     His penis.




                                        PAGE# 11 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 15 of 148 PageID 1276


                                                                                    12



         1           Q        -- and asked did she want some?
         2           A       Right.

         3           Q        Did sh� ever go into any more detail than

         4   that?

         5           A        No.·

         6           Q        Do you know     you may or may not know
         7   this, but do you know if there was a report
         8   generated on that incident in 2004?
         9           A        I don't know.   We were looking for that
        10   before, but I didn't have the address at that time.

        11   I -- I      don't know because    I    never got any paperwork

        12   or -- there was nothing               any -- nothing else was

        13   done after they got him to leave my house.

        14           Q        How old was            at that time, if you

        15   know.       I   could figure it out,     I   guess, but   I   didn't

        16   know if you knew off the top of your head.

        17           A        She's 16 now, so about 7 years old.

        18           Q        Okay.   So maybe 9, 10, somewhere in there?

        19           A        Yeah.

        20           Q        When's 'the riext ti�e you saw him after

        21   that incident in 2004?

       22            A        I don't know.   He came back because he

        23   was         the car was at my house, so he came back to

        24   get the car.

        25           Q        So shortly after you saw him?




                                        PAGE# 12 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 16 of 148 PageID 1277


                                                                          13



         1         A    Right.

         2         Q     Okay.    Did you ever have a conversation
         3    with him about it?

         4         A     No.

         5         Q     Did he ever try to talk to you about it?
         6         A     No.
         7         Q    And then when did he start -- after that
        . 8   when did he start living with you again?

         9         A     He hasn't.
        10         Q     Not since 2004?

        11         A     Not since 2004.

        12         Q    You just didn't let him after that?

        13         A     Right.     I cut off all communication.

        14         Q    And basically you haven't had a

        15    relationship with him since '04?

        16         A     No.

        17         Q     Okay.    When he was

        18         A     Wait a minu�e.     In '04 -- '04 is when they

        19    diagnosed me with my disease.      It wouldn't have been

        20    in '04,   Wait a minute.     Because it was on 9th

       ·21    Street.   It had to be before then because I was

        22    diagnosed with my disease in 2004.        My father came
        23    here and put me in the house on 9th Street and then

        24    we went to Greenbriar.      We moved to Greenbriar.

        25    Same landlord.      So it should have been after '04.




                                      PAGE# 13 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 17 of 148 PageID 1278


                                                                                  14




         1             Q     Do you know when it was when she -- when

         2     she said that he did that?

         3             A      No.     Not   --   not specifically, no, ma'am.

         4             Q      Okay.     But basical ly after he moved out at

         5     that time you haven't spoken to him again?

         6             A      No.

         7             Q      Now, when your daughter disclosed to

         8     you         said something again in January --
         9             A      Of this yea_r.
        10             Q            tell me what .she said.     And I need, you

        11     know, as much as you can remember, details of what

        12     she told you if she gave you details.

        13             A      She didn't give me any details.         What was
                                                                       ..
        14     said was, why are you so hateful and mean and nasty?

        15     I 'm dying.      I'm all you have in this world, why

        16     you know, especially towards me.              And she said,

        17     because I'm going crazy.              I'm going crazy. It's

        18     just·        everything's just too much.

        19             Q      Do you know if she has had any contact

        20     with him since that time he moved out when the first

        21     allegation?

        22             A      Not to my knowledge, no.

        23             Q      Did she ever use the word sodomize or

        24     sodomy with you?

        2 5.           A      Yes.




                                             PAGE# 14 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 18 of 148 PageID 1279


                                                                               15



         1          Q   Does she know what that means?

         2          A   Yes.     She has a 4.0 grade point average.

         3          Q   Where is she going to high school?

         4          A   Forrest High School.·

         5          Q   Where?

         6          A   Forrest High School.

         7          Q   How do you spell that?      Do you know?
         8          A   Nathan B. Forrest, F-o-r-r-e-s-t.

         9          Q   Oh, Forrest.     Okay.   Sorry.        I didn't hear
        10   you.

        11          A   She was at the Broach when        --    first, but
        12   they didn't offer the math that she needed, so she

        13   went back to public school.

        14          Q   Does she see a doctor regularly?

        15          A   No, ma'am,     We -- no, ma'am.         I'm trying

        16   to get her ·records recovered �ith me being on

        17   limited income her father was court ordered to pay

        18   for insurance.      He had the insurance and he didn't

        19   allow us -- well, he didn't allow us to use it.             I
        20   had to go around him to get a card.          I just received

        21   a card on the 6th of last -- of September.

        22          Q   Do you know when the last time she's been

        23   to the doctor was?

        24          A   No, ma' am.

        25          Q   It's been some time?




                                     PAGE# 15 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 19 of 148 PageID 1280


                                                                          16




         1        A    Yeah.     When she was diagnosed with
         2   diabetes, so I th ink that was January.      No.   I don't

         3   -- I couldn't give you a specific date.

         4        Q    She has diabetes also?
         5        A    Yes.
         6        Q    Okay.     When Clifton Brooks was living in
         7   your home did you want him living there?

         8        A     I didn't have any problems with him.
         9        Q    Okay.    You got along with him?
        10        A     ( Nods head. )

        11        Q     Did h� help you financially?

        12        A    Not really, but -- he helped, but not

        13   financially.

        14        Q    How did he help?

        15        A    Kept the yard cut, transportation, you

        16   know, stuff       cleaning -- fixing stuff around the

        17   house, just       but not financially,   I don't ever

        18   remember him giving me any money.

        19        Q    Now, the police wrote in their report, I

        20   know another -- and you probably talked to a lot of

        21   police officers so I'll try to keep this as

        22   s treamlined as I can, but it looks like on January

        23   6th a detective then made contact with you and

        24   talked to you a little bit more about the case.

        25        A     (Nods head. )




                                   PAGE# 16 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 20 of 148 PageID 1281


                                                                             17



         1            Q       And it looks like you told him that

         2    four-and-a-half years ago is when the first incident

         3   . happened.       Does that sound about right to you?

         4            A      The first I heard of it, yes.

         5            Q       Okay.

         6            A      That was when the penis was exposed.
         7            Q       And that makes -- so he was removed from
         8    the residence in about 2009.          Does that sound more
         9    1ike it?        I know my dates may be --
       10             A       2009 sounds more like it. Yeah.

        11            Q       I apologize for that.    I think that was my

       12     mistake.

       13                     Now,-when the detective was meeting with

       14                 , were you there or did they do that by

       15     themselves?

       16             A      They did that by themselves.

       17             Q       Since this incident, since she disclosed

       18     this incident to you, have you discussed it further

        19    with her at all?

        20            A       No, not really because she     how can I

        21    put it?        She shuts down.

        22            Q       She what?

        23            A       Shuts down.    She doesn't -- she won't

        24    talk.        She just goes into a shell.

        25            Q       Have you tried to talk to her about it?




                                          PAGE# 17 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 21 of 148 PageID 1282


                                                                            18



         1        A      Yeah.     I tried to talk to her about all --
         2   you know, just the platform of sex and how it's not

         3   her fault and she didn't do anything wrong and that

         4   she can't let it structure her life.         She has to
         5   !11.0Ve on, try to pull herself together and g et on

         6   with her life because he's not worth it.

         7        Q      What -- has she gone through any

         8   counseling?

         9        A      No, ma'am, because I've been so sick.
        10   They did offer counseling services.          I was given the

        11   information, but I'm sick like every other week, so

        12   I 'm trying to        and I -- my niece just got here, so

        13   now with more transportation and more help, I 'll be

        14   able to maneuver more.

        15        Q      Good.     How is her behavior?

        16        A      I don't really have any behavior problems

        17   out of her.

        18        Q      What was your relationship like with

        19   Mr. Brooks?      Did y'all get along?

        20        A      Uh-huh.    We were more like sisters and

        21   brothers.

        22        Q      Never any large fights that you can

        23   remember?

        24        A      Arguments, but nothing large.        He got

        25   angry because I put my boyfriend -- why did he get




                                     PAGE# 18 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 22 of 148 PageID 1283


                                                                           19



         l    angry?   It had something to do with Bobby.         He got

         2    angry because -- well, ain 't never liked my
         3    boyfriend, nobody did.     I just didn't know better at

         4    the time, but --

         5         Q     We' ve all been there I think.

         6         A     That's -- the only argument I remember us
         7    having was him and I arguing about the way he felt
         8    about Bobby being around.
         9         Q    Is it Bobby you said?
        10         A    Uh-huh.

        11-        Q     And when was that?       Like when did you date

       12     Bobby?

        13         A     Before 2004.    Yeah.     It had to be before
       14     2004, when I got sick, so I'd say in       iooo   -- it
       15     wasn't in the 2000 year. That was the millennium.

        16    So about 2002.

       17          Q    Okay.

       18          A    2000 or 2002.

       19          Q    Now, Mr. McLauren,              and Jacobi's

       20     father, how did you meet him?

       21,         A    At the stop sign.        At the stop sign,

       22          Q    Okay.     What stop sign?

       23          A    On       I was living on Christopher Robin.

       24     I was moving into a house and I had my stepfather's

       25     truck;   And the first gear is real fast, you have to




                                     PAGE# 19 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 23 of 148 PageID 1284


                                                                          20




         1   shift it real fast or it will cut off.    And I was

         2   telling him to come around the corner so the car

         3   wouldn't cut off in the middle of the street and he

         4   was telling me to come, so we met at the stop sign.

         5           Q   And you developed a relationship after
         6   that?

         7           A   Yes.

         8           Q   And how long were y'all together?

         9           A   They were born in '96, so I'll say in
        10   about 19 9 8, but we always -- up until I'll say 2002

        11   when I got sick      right betore I was diagnosed we

        �2   always got along.    We still lived in the house

        13   togethir.    If I became ill, he would move in to help

        14   with the kids and so forth.

        15           Q   Did you get pregnant shortly after meeting

        16   him �r did y'all date for a while before?

        17           A   Shortly after.

        18           Q   But now you don't really talk to him all

        19   that much

        20           A   No.

        21           Q   -- just to deal with issues with the

        22   children?

        23           A   With the children.

        24           Q   And you just have two kids with

        25   Mr. McLauren?




                                  PAGE# 20 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 24 of 148 PageID 1285


                                                                          21



         1          A   Yes.

         2          Q   And Mr. Brooks, I assume since he was
         3   living with you he was around your children quite a

         4   bit?

         5          A   Yes.

         6          Q   How was he with them?
         7          A   Playful.    They got along fine.
         8          Q   Never saw anything odd?

         9          A   It's always odd.    I've always -- well, I
        10   don't believe that men should wrestle and play with

        11   little girls, any of them, their fathers, nobody,

        12   because children get the wrong-concept and somebody

        13   Clif will come in and manipulate that.        But they

        14   always played and got along.        It was never any

        15          Q   They never seemed scared of him or

        16   intimidated by him?

        17          A   My son did.    My youngest son did.

        18          Q   Jacobi?

        19          A   Jacobi.

        20          Q   Okay.     Do you know why that was or -­

        21          A   No.

        22          Q   How long have you lived in Jacksonville?

        23   Are you from here, born and raised?

        24          A   I'm from here.

        25          Q   Born and raised.     What about




                                            -·
                                    PAGE# 21 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 25 of 148 PageID 1286


                                                                           22



          1         A     4 2 years.

          2         Q     Which area of town do you currently live

         3     in now?

          4         A     Westside.

          5         Q     Like Paxon?

          6         A     No.    Off of 10 3rd Street.   I guess it's
          7    called Fairytale Land.

          8         Q     Oh.    That's where all the -­
          9         A     Cinderella and

        10          Q     -- streets are named after -- yeah.       I

        ·1 1   li'ke that· area:; I t_hink t'hat's cool. ·· And you used

        12     to live in the Paxon area?

        13          A     Yes.

        14          Q     Was that the Greenbriar address?

        15          A     Yes.    And 9th Street. ·

        16          Q     Do you have a home there or an apartment?

        17          A     I'm renting a house.

        18          Q     I mean the one in Paxon.

        19          A     We were renting.

        20          Q     A house?

        21          A     Uh-huh.

        22          Q     And do you remember that house?       Do you

        23     remember what it looked like on the inside?

        24          A     Uh-huh.

        25          Q     How many rooms were in it, bedrooms




                                       PAGE# 22 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 26 of 148 PageID 1287


                                                                          23



         1   specifically?

         2         A    Three bedrooms.
         3         Q    And do you know how many of those bedrooms

         4   had TVs?

         5         A    All of them.

         6         Q    How about cable?

         7         A    All of them.
         8         Q    Did the children have access to those TVs?
         9         A    Yes.
        10         Q    Do you put limitations ?n what your

        11   children can watch and what they can' t watch?

        12         A    Yes.   When they were chil- -- when they

        13   were younger, yes.

        14         Q    And what were those limitations?

        15         A    PG-1 3, Disney movies, nothing provocative.

        16         Q    Did you let them watch anything that had
        17   any sort of sexual content or anything like that in

        18   it.

        19         A    Not to my knowledge.

        20         Q    Were there ever any times where you saw

        21   inappropriate touching between Mr. Brooks and any of

        22   your children?

        23         A    I always thought it was inappropriate for

        24   him to wrestle and play and tickle her.    I consider

        25   that inappropriate for a man to play with a lit tle




                                  PAGE# 23 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 27 of 148 PageID 1288


                                                                          24



         1    girl like that, to play ' with children like that ,

         2    period ,    They molest boys too ,
         3         ,Q      But did you ever see anything -- anything

         4    sexual in nature that you would - -

         5            A    No ,

         6            Q    Did you ever talk to Mr. Brook s about the
         7    wrest l ing and how you didn ' t

         8            A   All the t ime.

         9            Q   And what would he say?

        10            A   Oh ,     Dee, we're j ust playing.

        11            Q    I s that what he calls you, Dee?

        12            A    Uh -huh ,

        13            Q    Did you ever h ave other visitors to the

        14    home other than Mr. Brook s and the ' children's

        is    fathers?

        16            A    Yeah .

        17            Q   Okay.        Who else would come over?

        18            A   Well , my friends.       Xov mean spend the

        19    night : over?       .What do you mean?

        20            Q    Just visit. Either.

        21            A    Friends, f amily members.

        22            Q    Do you remember specifidally who those
       , 23   were?

        24            A    Not all of . them.

        25            Q    Do you know someone by the name of




                                         PAGE# 24 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 28 of 148 PageID 1289


                                                                               ·2 5



         1   John- John?
         2           A     Yes.      That's their other brother .
         3           Q     The othe� -- Mr. McLauren ' s other brother?
         4           A     Uh-huh.        I raised John .
         5           Q     How o ften would John come to your home?
         6           A     John still comes to my home.
         7           Q     He does?
         8           A     John lived with me from the time he was 1 3
         9   unt i l he graduated from high school.
        10           Q     Do you know how old he is?
        11           A     I think a-bout 28 .
        12           Q     Was John-John ever alone in your . home when
        13   he wou l d come visi t ?        O r I guess he l ived there, so
        14   probably, huh ?
        15           A     Yeah .
        16           Q     And would he bring other people into your

        17   home?
        18           A     Yes .

        19           Q     What k ind o f people?       I mean

        20           A     His friends, girlfriend.
        21           Q     Did Mr. Brooks ever come to you and ta l k

        22   about what John- John was doing around the kids,

        23   speci fically having sex with gi�ls, things l i ke that

        24   that you were aware o f ?

        25           A     No.      No.




                                          PAGE# 25 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 29 of 148 PageID 1290


                                                                              26




         1        Q        So Mr. Brooks never talked to you about

         2   how he thought that John-John's actions were

         3   inappropriate ?

         4        A        No.    I don't think Mr. Brooks would have

         5   been in the position to do that.         No.   He wasn ' t in

         6   a position to do that because we all thought that
         7   h is actions were inappropriate.        Clifton is a
         8   manipulator of little children .        His preference is
         9   little girls preferably under the age of         18   as · he
        10   put it.   He can train them and groom them to be the

        11   type of woman that hi want.

        12        Q        Did he tel l you that ?

        13        A        On several o�cas ions .

        14        Q        E xplain to me exactly wha� he would say.

        15        A        T hat he didn ' t want· an older woman as a

        16   girlfriend because they stuck in their ways.            I f he

        17   can get a little girl wh ile she's young, then they

        18   can grow together and he can train her in the way

        19   that he wanted her to go.

        20        Q    ' Has           ever spoken to you about having

        21   sex with any other men ?

        22        A        Yes.

        23        Q        And who is that or what has she told you ?

        24        A        That she's ready to have sex with her

        25   boyfriend .     I asked her to let me know when she felt




                                      PAGE# 26 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 30 of 148 PageID 1291


                                                                          27




         1     like she was ready to have sex with her boy friend so

         2     we can get her some birth control.
         3          Q    And has she come to you and told you that

         4 .   she is ready for that?

         5          A    Yes :

         6          Q    And when was that?
         7          A    Over the summer, last summer.    I started
         8     actively pur suing, trying to get the insurance card
         9     so we can get what she needs .   I have an open re- -­
        10     and this may be too much information , but I try to

        11     have an open relationship with my children so they

        12     feel like we can talk about any and everything.       So

        13     I -- as with my sons, I sat down and talked with her

        14     about sex and the choices that we make as teenagers

        15     will af fect our eritire life.

        16               And I -- I asked her when she feel like

        17     she's ready for that, come · to me, let me know so

        18     that I can get what she needs to protect her.     I can

        19     take her and get her the education as birth control

        20     or whatever she needs because I' m a fir m believer in

        21     we can't stop these children from doing what they

        22     want to do.   They're going to do it.   You did what

        23     you wanted to do.   I did what I wanted to do

        24     rega�dless of how . much our parents was against it

        25     and preached abstinence.    So I'd rather for her be




                                    PAGE# 27 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 31 of 148 PageID 1292


                                                                                 28




         1   prepared i f she was going to do that than not be.

         2           Q    Do you know of any allegation whe re
        3    grabbed Clifton ?     Are you aware of anything like

         4   that?

         5           A    No ,

        6            Q    Do you know Shantel or Shantel Harri s?
         7           A    Yes.    Yes.

        8            Q    What do you know about her?

         9           A    That she ' s the mother of Cli fton's.

       10    children .    She used to work a·t my doctor's office.

       11    I   know he beat her.

       12            Q    There were incidents of domestic battery

       13    between Clifton

       14            A    And Shantel.

       15            Q    -- and Shantel ?      Did you ever witness any

       16    of those?

       17            A    Yes.

       18            Q    Okay.   Explain to me what you saw and when

       19    you saw it.

       20            A    He hit her in the head .         He hit her . in the

       21    head with a gun.      I was at his house on

       22    Frede ricksburg one night , one Sunday night, and they

       23    got into an argument because some other girl came

       24    over to his house and they were arguing bac k and

        25   forth, and he h it her in her head and threw her in




                                         PAGE# 28 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 32 of 148 PageID 1293


                                                                                      29



         1     the room .

         2             Q        And you saw that?
         3             A        Yeah .

         4             Q        Where were y'al l living when                states
         5     that this happened between her and Mr. Brooks?                   Was
         6     that the Paxon house?

         7             A'       Yes.

         8 ·           Q        It wasn't the house off 103rd where you
         9     live now ?

        10             A        No.      Clifton has never been to that home.

        11     Once I moved out of Paxon, Clifton should not know

        12     where I live, but I think he does.

        13             Q        Did anyone eve� suspect that anything was

        14     going on between Clifton and                      ?

        15             A        Shantel.

        16             Q        And how do you know that?

        17             A        Because she called me and told me .

        18             Q        When was that?

        19             A        Right before he went . to j ail for beat ing

        20     her.        I ' m not s ure .    I know it was on a Sunday

        21     night.        Cli fton had been to my house earlier that

        22     day .       My mother was there then.        My mother had

        23     cooked dinner, so Clifton had been to my house.

        24     After dinrier I went to _ feelin� bad.                I went and got

        25     in the bed.            Clifton left and then Shannon called




                                               PAGE# 29 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 33 of 148 PageID 1294


                                                                                 30



         1    and very be l ligerentl y saying that            --
         2           Q        Who called?

         3           A        Shan -   --    Shannon. Shan tel.

         4           Q        Shantel.

         5           A        We call her Shannon.

         6           Q        Okay ,       Sorry.
         7           A        We cal l her Shannon.         Shannon called
         8    saying that -- was my daughter s leeping with her man
         9    beca�se he came home with passion marks on his neck,
        10    and he said that                      had put them on his neck .

        11    And I told her she was crazy becaus e we wer� -- we

        12    were all there .             When he was there earlier - - when

        13    he was at my house earlier that day , -th ere was not a

        14    time that he and                      were ever alone because

        15    Breon -- him, Breon, and Jacobi and                      were in

        16               --                and Jacobi ' s bedroom playing the

        17    video game .

        18           Q        And you were there the whole time?

        19           A        U h - huh.     My mother too.

        20           Q        Was there ever ·a time that . C lifton came to

        ,21   you and said, just let her think that there's

        22    someth ing going on between                     and I?

        23           A        No. No , ma'am.          Clifton know that I --

        24    no .

        25           Q        Did Clifton feel that Shantel should be i n




                                             PAGE# 30 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 34 of 148 PageID 1295


                                                                                   31



         1   pr i s on for batte ring him at some time?
         2        · A     He want ed her de ad ,      I don ' t think he
         3   want e d her go to pr i s on ,      I never he ard he wanted
         4   her to go t o prison .       I know he wa s trying t o s e t
         5   her up so h e cou ld shoot her a t my ho use.

         6          Q     And do you -- do you know if he ever
         7   a l l eged that she ba t te r ed him?
         8          A     No .   I know he bragged about beating her .
         9          Q     S o i s i t fair to s ay they had a pr e t t y
        10   volatile relationship?
        11          A     Very vol at i le.
        12          Q     What kind o f car did Cl i fton drive when he
        13   was living ther e ?
        14          A      He had s ever a l .    He had a Che vy - - either
        15   a Chevr o l e t Capr ice or an Impa l a .    I ' m not s ur e
        16   whi ch one it was .      They ca l l them box Chevie s .         He
        17   had an Acur a Int egra.       He had a Honda Accord.            He

        18   had a motor cyc l e .
        19          Q      S o -- and back t o -- and I know I j u s t

        20   a sked this ques t ion, bu t I want t o make i t mor e
        21   c le ar .   When           is a l leging that the s e things
        22   occurred, what was your addres s at that time?

        23          A     Which time ?      When I c a l l ed the po lice this

        24   -- I ca l led the po lice on both inc ident s .        First

        25   addr e s s ed i t when h e showed her        when his peni s




                                        PAGE# 31 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 35 of 148 PageID 1296


                                                                          32



         1   be came exposed was, I j ust had it, 3 438 Greenbriar .
         2         Q    And that' s in Paxon?

         3        A     Yes.

         4         Q    Okay.

         5        A     And re cently in January was 3939 Ma c Gregor
         6   Drive.

         7        Q     But after the police were called on the
         8   inc ident where he showed her his pen is, y�u didn't
         9   rea l l y talk to him anymore after that?
        10        A     Right. No.      No.
        11        Q     So any assaults Qr molestation would have

        12   o ccurred at the Greenbri ar address?

        13        A     Right.    Or the 9 th Street address.

        14        Q     9th Street, was that the house you l ived

        15   in before the Greenbriar?

        16        A     Uh-huh.    Or at his address .

        17        Q     What's that?

        18        A     Or at his address .

        19        Q     What -- what --

        20        A     In

        21        Q     Do you remember even the street name ?

        22        A     H is address?

        23        Q     Yeah.

        24        A     5004 Fredericksburg Avenue.      In -- they

        25   diagnosed me in 20 04, so at the end o f 2002 and




                                   PAGE# 32 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 36 of 148 PageID 1297


                                                                                                33




         1   2 0 0 0- -- beg i nning o f 2 0 0 3 when I was very sick , I
         2   w a s homeless, s o for a s hort period o f time I lived
         3   with Clifton on Fredericksburg ,
         4           Q          Wh o is Colby ?
         5           A          Th e twin.               ,   It ' s           and
         6   Jacobi.       We c all them Cori and Cobi.
         7           Q          Oh , ok ay.        The police wrote Colby lik e
         8   C - o - 1 -b-y .      That mu st be
         9           A          It ' s C-o-b-i ,       It mu st be Cobi is what
        10   they mean.            Can I get a copy o f what you ' re reading?
        11           Q          It ' s the 'police report.            I don ' t k n ow if
        12        you ' 11 h ave to ask Ms .· Hixon that .
        13                      THE W I TNE S S :     I was ju st wo nderin g what
        14           s h e was - -
        15                      M S . H I XON :     S he is r eading the police

        16           repo rt th at gets generate d when you call the
        17           police .
        18                      T H E W I TNE SS : . Oh , okay ..

        19                      MS . H IXON :       Right.

        20           Q          H ave you spoken to Mr. Brooks or anyone i n

        21   Mr . Brook s ' family s i nce h i s arr e s t ?

        22           A          No, ma ' am.        I j u st found out a few minutes
        23   ago that he was arre sted .

        24           Q          You didn ' t even know?

        25           A          No.     Well, I - - I mispl ac ed the lette r.              I




                                                  PAGE# 33 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 37 of 148 PageID 1298


                                                                                 34



          1    think it's out in the car, but at the gas station i s
          2    when · r realized they said he was ar rested on July

          3    the 12th right befor e we were coming up here,

          4           Q       Was that his arrest date?
          5           A       That's what the subpoena said.

          6                   MS. HIXON :     Her e we go.   Here's his A & B.
          7           Yeah.      July the 12th according to the A & B?

          8                   MS. GALNOR :     Okay .
          9           Q       Have you ever been arr ested for anything?
        10            A       Yes, ma'.am .
        .1 1          Q       Okay.     What. have you been arrested for?
        12            A       Worth iess checks.

        13            Q   - How many times?

        14            A       More than I can imagine .

        15            Q       Any of them felony?

        16            A       Yes.

        17            Q       Have you been convicted of any of them?

        18            A       Yes.

        19            Q       Do you know how many?

        20            A       No .

        21            Q       Anything else that you've been arr ested

        22     for?

        23            A       Failure to return property .

        24            Q       Leased prope rty?

        25            A       Uh-huh.




                                          PAGE# 34 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 38 of 148 PageID 1299


                                                                          35




         1          Q   When . was that?

         2          A   A couple of years ago.

         3          Q   Have you ever been to prison?

         4          A   No ,     Just the city jail.

         5          Q   And were you convic ted of that, the

         6   f ailure t o redeliver?

         7          A   Did I -- I think it was thrown out because
         8   of the statute of limitations had r un out ,

         9          Q   Okay ,

        10          A   I didn ' t have to pay any restitution or

        11   anything like that. . I was just arrested.

        12          Q   How was             abou t coming here today?

        13          A   Nervous.

        14          Q   Did you guys

        15          A   Locking down.

        16          Q   I ' m sorry?

        17          A   Shutting down.       I said locking down.

        18   Shutting down.

        19          Q   Were you able to talk to her much about

        20   it ?

        21          A   No, not really ;      We haven 't -- she -- I

        22   got her hair done today, something that will pic k up

        23   her spi rits because as we're coming up to this, the

        24   depression is starting to set in.

        25          Q   Is she on any medicat ion £or that or




                                       PAGE# 35 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 39 of 148 PageID 1300


                                                                             36



         1   . anything?
         2          A       No.

         3          Q       Has she ever been in trouble?

         4          A      ' No, ma'am.

         5          Q       What about her brother               ?
         6          A       Jacobi?     No, ma'am.
         7          Q       Sorry.     Jacobi.

         8          A       No, ma' am.
         9                  MS. GALNOR :     I don't think I have anything
        10          else.       Do you have anything else?
        11                  MS. HIXON :     No. ·   She'�l• waive.

        12                  (Witne s s excus ed. )

        13                  (Deposition concluded at 2 : 47 p. m. )

        14

        15    (2 : 52 p. m. )

        16

        17   having been produced and first duly sworn as a

        18   witne s s, and having responded "Ye s " to the oath,

        19   te stified as follows :

        20                            DIRECT EXAMINATION

        21    BY MS . GALNOR :

        22          Q       Could you please state your name.

        23          A

        24          Q       And,           , how old are you?

        25          A       16.




                                          PAGE # 36 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 40 of 148 PageID 1301


                                                                                37



         1        Q        And when is your birthday ?

         2        Al       0 1:/03 of '9 6 .
         3        Q        And where d o you live?

         4        A        3 9 3 9 Ma cGregor Drive, M-a- c-G-r-e-g -o-r.

         5        Q        Where do you go to s chool?

         6        A        Nathan Bedford Forrest.
         7        Q        What is your favorite s ub je ct?

         8        A        Sleep.
         9        Q        Sleep ?      Is that what you said?     I guess
        10   you're a typi cal 16-year-old, then, huh?

        11        A        'Yeah.

        12        Q        How are your grades in s chool?

        13        A        I got on� D be cause     I.   missed too many days
        14   taking care of my mom .

        15        Q        Oh.       Taking care of your mom?

        16        A        But my tea cher t old me that she's going to

        17   put in a change form or whatever -- grade change

        18   form so that        I   can make up that work.

        19        Q        Other than that D how are your grades?

        20        A        Lower than they usuall y · are.       Cs and Es

        21   and one A ,

        22        Q        Why woutd you say they're lower than they

        23   usually are?

        24        A        Be cause usually I make more than a C.

        25   T hey' re always higher.




                                          PAGE# 37 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 41 of 148 PageID 1302


                                                                               38



         1        Q      What do you think is affecting them?

         2        A      Everything.
         3        Q     · Your   --
         4        A      Everything.
         5        Q      I just spoke to , your mom before you came

         6   in here.    She's pretty sick?
         7        A      Uh-huh .
         8        Q      Is that a yes?        Sorry.
         9        A      Yes.
        10               MS. HIXON :       You have to say yes or no
        11        so

        12        A     - It's· a yes.

        13              MS. H IXON :       -- she can take down

        14        everything.

        15        A      T hat's a yes.

        16               THE WITNE S S :     How do you do tha t ?   Are you

        17        typing that too ?

        18               COURT REPORTER :       Uh-huh.

        19              THE W ITNESS :      And that one?    Okay.

        20              MS. GALNOR :        She has to type everything

        21        that happens in this room unless we tell her

        22        not to ,

        23        Q      And you said you have to miss a lot school

        24   because you're taking care of her?

        25        A      ( Nods head. )




                                       PAGE# 38 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 42 of 148 PageID 1303


                                                                                                  39




          1            Q          Ye s ?

          2            A          Ye s .

          3            Q          Okay .      Sorry.

         4             A          S h e can ' t t ype h e ad nod s ?

          5            Q          No .

          6                       MS . H I XON :       No .

         7             Q          She can ' t u n f o r t u na t e l y .   I t has t o a l l be

          8    o u t l oud.        Obviou s ly you know wh y y o u ' r e here t o da y ,

          9    r i ght ?

        10             A          U nf or t u n a t el y .

        11             Q          And you k n o w C l i f t o n Brook s ?

        12             A          Yep .

        13             Q          H o w do y o u k n ow h im?

        14             A          H e ' s my u n c l e .

        15             Q          H ow long h ave y o u k n o wn h im?         Si n c e y ou

        16     w e r e bo r n ?

        17             A          Foreve r .

        18             Q          I s t h e r e a t ime wh e n he l i ved w i th y o u ?

        19             A          Yep .

        20             Q          And whe n was th a t ?           Do you r eme mbe r l i k e

        21     h o w o ld - y o u were ?

        22             A          A lot .       I wa s p r obably s a y - - ' I k n o w i t

        23     w a s def i n i t e l y abou t                how o l d was I when I moved

        24     o n that s t re e t ?

        2 5·           Q          You s a i d how o l d w a s I when I moved o n




                                                  PAGE# 39 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 43 of 148 PageID 1304


                                                                                     40



         1     t hat · stree t ?

         2            A      On 9 th Street.
         3            Q      On 9th Street?

         4            A      I remember he lived with us the re, and I

         5     had t o be around 11.           And before then we stayed with

         6     him and that was around seven and e ight.              S o , yeah ,
         7     we st ayed with that guy quite a few.
         8            Q      What was your relationshi p like wit h him?
         9            A      It was koshe r at one time , but, I mean,

        10     a·f ter that it was --

        11            Q      Tell me · when things got bad .

        12            A      E i ght.
        13 ·          Q      When you were eight years old?

        14            A      Uh-huh.       Yes.

        15            Q      See?       Good j ob .   You're corre cting

        16     yourself.      It's hard.          It's human nat ure to say

        17     uh-huh ,

        18                   Tell me the first thing y ou remember that

        19     went by with Clifton.

        20            A      Oh, man.

        21            Q      And I know it's hard to talk about, and

        22     I -- I wish I didn ' t have to ask you . these

        23     questions , I really didn't, but if it makes you feel

        24     bette r, ·we're all girls in here, right, and we have

        25     heard j ust about e verything the re is to hear, so we




                                            PAGE# 40 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 44 of 148 PageID 1305


                                                                              41



         1     j ust ask that you be truthful .

         2           A    I know y'all have heard j ust about
         3     everything.     It's j ust one of those too personal

         4     things _to discuss, but the first thing I remember

         5 .   we l l , that I remember that I remember because , you

         6     know, I think I'm starting to get amnesia now

         7 ·   because my diabetes is not acting right.            Anyways,

         8     the first thing I remember would be when I was
         9     l aying in the bed and --

        10                THE WITNE SS :     You remember that story ,

        n            right?

        12                MS . HIXON :     You have to tell her.       I

        13           remember, but you have to tell her.

        14           A    This is very odd ,       And he had that little

        15     toy that Goku toy or whatever.

        16           Q    A   what?

        17           A    A   Goku toy,

        18           Q    What's that?

        19           A    You know Dragon Bal l Z ?          Have you ever

        20     heard of that show ?

        21           Q    I've heard of it, but I know nothing about

        22     it.

        23           A    He's one of the main characters .

        24           Q    Goku like G-o-k-u?

        25           A    Yeah, that guy.        And so --




                                         PAGE# 4 1 OF 144.
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 45 of 148 PageID 1306


                                                                              42



         1          Q      What did he do with this toy?

         2          A      He was acting like he was playing with it.

         3          Q      And then what did he do?

         4          A      I was sleeping.       I felt s omething mes a
         5   with my rump, so when I woke up, I . turned around and

         6   he was behind me and had
         7          Q      S o what was he doing with the toy before

         8   you felt something?

         9          A      I doi't know what he was doing . with the
        10   toy.       I was asleep.

        11          Q      S o when you woke up · and you felt like .and

       12    you turned around, what did you see?

        13          A      Him playing with the toy .

        14          Q      Playing with you with the toy?

       15           A      No.      Him just playing with the toy ,

        16          Q      Okay ,

        17          A      The Goku toy.

        18          Q      And what was it that you felt?

       19           A      Like something touched me.        Something that

        20   shouldn ' t have tou�hed me there , I didn't know what

        21   i t was but --

        22          Q      Did you see what it was that tou ched you?

        23          A       ( Shakes head.)

        24          Q      Is that a no?

        25          A      That ' s a no .    I 'm sorry .




                                         PAGE# 42 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 46 of 148 PageID 1307


                                                                          43




         1            Q   Did he have all of his clothes on?

         2            A   I can't remember.

         3            Q   rio you know what you we r e wear ing at the

         4   t ime?

         5            A   Most likely at that time since I really

         6   never have pa jamas till I got older was probably a

         7   T-shirt and some shor t s .
         8            Q   And were any of your clothes off when you

         9   woke up?

        10            A   I can't r emember.

        11            Q   So do · you know what he touched you with on

        12   your butt? .

        13            A   No .

        14            Q   So that's the first incident that you

        15   remember and that was when you were about eight?

        16            A   Yeah .

        17            Q   And what house was that in?

        18            A   His house.

        19            Q   In what room?

        20            A   The room at the far end of the hallwa�,

        21   like the very last room .

       .22            Q   Do you know whose room that was?

        23            A   No.      I   know it wasn't his room.

        24            Q   It was not his room?

        25            A   ( Shakes head. ) '




                                         PAGE# 43 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 47 of 148 PageID 1308


                                                                             44



         1         Q       Were you on a be d?

         2         A       Y e s.
         3         Q       W a s it in the mi ddle of the night or was

         4   it during the day ?
         5         A       It w as -- it had to be in the middle of
         6   the night becau s e my broth er w a s a s leep .
         7         Q       So you weren ' t j u st like napping or
         8   s omething?
         9         A       No.
        10         Q       Did h e s ay anyth ing to you?
        11         A       Nope .
        12         Q       Did he hurt you in any way that time ?
        13         A       Like what do you mean?
        14         Q       L ike phys ica l ly hurt you.
        15       · A       L ike ?
        16         Q       L ike did anything that he did to you h urt ?
        17   You s a id you j u st f e lt someth ing on your butt , but

        18   you woke up and looked around .        Did anyth ing h appen

        19   a fter that?
        20         A       No.
        21         Q       So did h e - - I mean , whatever· tou ched your

        22   butt , did it physica l l y hurt? _

        23         A       I c an ' t remember.

        24         Q       But your c l othe s were still on , right?

        25         A       I 'm not s ur e .




                                        PAGE# 44 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 48 of 148 PageID 1309


                                                                           45



         1         Q       You don't remember?
         2         A       ( Shakes head . )
         3         Q       Is that a no?       Sorry ,

         4         A       I don't remember.       No, I don't remember.
         5         Q       . Do yQu · remember if there was a TV on, if
         6    there were any lights on?
         7         A       I believe, yeah, there were lights on.
         8         Q       Lights on?
         9         A       Yeah.     I don't think there was a TV in
        10    that room.

        11         Q       When you lived with him, where would you

       . 12   normally sleep ?

        13         A       I can't remember , but I knew it was always
        14    with my brother.

        15         Q       Okay .    It was always with Jacobi?

        16         A       Yeah.

        17         Q       I s that his name?

        18         A       Yeah.

        19         Q       Yeah.     I talked to your mom.

        20         A       Okay.

        21         Q       D id   it freak you out that I knew his name?

        22         A       Yeah .    It kind of really did ,

        23         Q       Yeah.     I talked to your mom.     She

        24    obviously told me y 'all's names .

        25                 D id   you ever sleep with C l ifton in the




                                       PAGE# 45 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 49 of 148 PageID 1310


                                                                              46



         1   same bed?

         2        A        I believe so, yeah .

         3        Q        Do you know how many time s ?

         4        A        No ,    No .

         5        Q        Now, after that first incident tell me the

         6   next thing thc;1 t you remember.

         7        A        The next thing that I can clearly remember

         8   i s when he e xposed himself to me before the cops got

         9   called.     And after that -- well, during that time I

        10   was in my room.          I can't remember what we argued

        11   about, but --

        12        Q        You and Clif were arguing about something?

        13        A        I don't know, but I think he left - - yeah.

        14   We had to because I l ocked the -- I locked the door.

        15   And he said he forgot his cup, and he came -- when I

        16   opene d the door to let him get his cup, he showed me

        17   his penis .      He laughed and then he walked away.

        18                 And the time after that he was leaving the

        19   bathroom with his clothes and I was ironing in the

        20   kitchen while my mom was sick.           This was the time - ­

        21   this was the incident when the cops got called .           And

        22   he showe d me his penis again and laughed again and

        23   walked off and I went and I told my mom.

        24        Q        Okay.      So the first t ime he    when you

        25   let him back in the room when he said he forgot hi s




                                          PAGE# 46 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 50 of 148 PageID 1311


                                                                            47




         1   cup, do you remember what he had on?

         2         A    No.

         3         Q    Did he j ust pu l l his pants down and show

         4   you his penis?

         5         A    His pants were always down.

         6         Q    What you do mean?
         7         A     They were -- when he opened the door

         8         Q    Walking around with his pants down?
         9         A     No, because my o lder brother might not
        10   would have found that disturbing . and my mom

        11   wasn't -- no.       That was definitely something that

        12   would have never been allowed.      But, no, when I

        13   opened the door, it was like cu f fing around his

        14   penis .   Not like it was down, down.

        15         Q     But he pulled it down far enough where his

        16   penis was sticking out?

        17         A     Nope.

        18         Q     Do you know if his penis was --

        19         A     No.

        20         Q     -- hard.

        21         A     I knew where that was go ing.

        22         Q     You ' re reading my mind.     It ' s scaring me.

        23               Do you remember what it looked like?

        24         A     No.

        25         Q     Did you look at it quickly and look away?




                                     PAGE# 47 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 51 of 148 PageID 1312


                                                                          48



         1         A    Yeah.

         2         Q    Did you say anything?
         3         A    No.

         4         Q    Qid he say a ny{hing?

         5         A    He laughed .

         6        Q     That' s it?

         7        A     Yeah.

         8        Q     Okay.       And then he j ust w alked away?
         9        A     Yep.
        10         Q    And did you -- you shut the door?

        11        "A•   Ye ah.

        12        Q     And then whe n was �his, - how old w ere you?

        13        A     10    or   l i.

        14        Q     Did anything happen between �he first

        15   inc i dent where he touched your butt and - �

        16        A     I believ e so bec ause I remember that I

        17   never wanted to sleep by myse l f aga in, but I can ' t

        18   tell you what I remember about those incide n ts.

        19        Q     You j ust know you were scared to slee�

        20   alone ?

        21         A    Yeah .

        22        ·o    And during that incident where he touched

        23   your butt, I mean , ar e you sur e it was him that

        24   touched you� butt . or --

        25         A    There was no one else i n the room and I'm




                                          PAGE # 48. 0F 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 52 of 148 PageID 1313


                                                                           49




         1   pretty       because the way I reacted to the whole

         2   t hing , it wasn't like lazy get up and turn around .

         3   I t was , what is that ( demonstrating ) ?

         4         Q      Okay.     Do you remember him ever -- and I

         5   know this i s going to be a weird question, but do

         6   you ever remember him penet rating your but t with
         7   anything ?

         8        A       I don ' t know.

         9        Q       You don ' t know?

        10         A      I don't know.

        11         Q      You j ust don't remember or you don't know?
        12        A       I don't remember.

        13         Q      You don ' t · re.member.   So between the time

        14   t hat you were eight and:J h� •"touched your but t and

        15   then the time you were -- what did you just say 1 0

        16   or 11 ?

        17        A       10   or 1 1 .

        18         Q      Where he showed you his penis the f irst

        19   time, you don ' t necessar ily remember anything

        20   happening between those two incidents but you know

        21   t hat you did not like sleeping alone?

        22        A       Yeah.

        23         Q      Which leads you to believe that per haps

        24   somet hing did happen?

        25        A       Yeah.




                                          PAGE# 49 OF 144
     Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 53 of 148 PageID 1314


                                                                                 so


              1         Q     Okay.     And then the first time he showed

              2   you his pen is did you ever tell anybody about that?

              3         A     I told him -- I told my brother , but it

              4   wasn't

              5         Q     Jacobi?

              6         A     Yeah .    But it was n't exactly the same day.
              7   That came about when he wouldn't let me on the

              8   computer and I called h im a child molester and

              9   I went in my and my -- in me and Jacobi ' s room and

             10   slammed the door and he asked what that was about.

             11         Q     So the time that he touched your butt when

             12   you were eight, did you ever tell anyone about that
..   .       13   a fter it happened?

             14         A     No.

             15         Q     Okay.     So then after the first time he

             16   showed you his peni_s_., you      he was on the computer

             17   a nd wouldn ' t let you o n ?

             18         A     I don't believe he was on the computer.        I

             19   was trying to get on the computer or whatever, and I

             20   can ' t remember how it ended up to where I wasn ' t

             21   allowed on the computer , but then I called him a

             22   child molester and I went in my room.

             23         Q     Your · brother heard you call him that?

             24         A     It was me , Cobi, a nd Clif f.

             25         Q     And your brother asked you about it?




                                          PAGE# 50 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 54 of 148 PageID 1315


                                                                                          51



         1           A            Yeah.

         2           Q            How long after the incident wher� he

         3   showed you his penis did you say this to him?                          Was

         4   it weeks later , a couple days later ?

         5           A            I t was probably a couple days later ,

         6           Q            Couple days l ater?
         7         A              Yeah.

         8           Q            And what did you tell Cobi when he asked
         9   you that?

        10           A            He was like, well, what was up with that?

        11   I said , he showed me his• penis.                And he was l ike ,

        12   well, you need to tell somebody.                  And I was like,

        13   no.     And knowing him I begged him -- because knowing

        14   the person he was , I begged him not to tell anyone.

        15   I   was going to do it when             I   was ready.        And then it

        16   j ust so happened that at the t ime I was r � ady he

        17   showed me his penis again.

        18           Q            And how long after the first penis showing

        19   incident , I guess we'll call it, was it ?

        20          A             A couple weeks or a month.          It   was at

        21   least       --   I    think it was May 23 rd because           I   know we

        22   get out on the 25th at that time of

        23           Q            Of school?

        24           A            Yeah.   So either a week before that or

        25   that day.             I don 't know .




                                             PAGE# 51 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 55 of 148 PageID 1316


                                                                                                    52




         1            Q         S o r i ght ar ound whe n s c h o o l ge t s out ?

         2            A         Yeah .

         3            a .       And t ha t wa s the s e cond t ime ?

         4            A         No .      As a ma t t e r o f fact , i t had t o have

         5   b e e n in Apr i l becau s e I was -- I r ememb e r s h e t o l d

         6   m e that i t w a s a dome s t i c c a l l i n g on i t i n Apr i l ,

         7            Q         An d how d i d - - t e l l me about the s e c o n d

         8   t ime he sho wed you h i s pe n i s .

         9            A         I wa s i r on i n g my c l o t h e s .      I t w a s a t n i ght

        10   and I was i r on in g my c l o t h e s ge t t in g r e ad y for

        11   s ch o o l the next day .             An d he wa l ked b y -- b e c a u s e

        12   t he w a y i t was s e t u p , t h i s w a s the k it c h e n .               And we

        13   h ad a h uge k i t c hen a n d t h e n

        14            Q         W h i c h h o u s e wa s t h i s ?

        15            A         G reenbr i ar .

        16            Q         Now , l e t me -- and I ' m s o r r y .            I'm

        17   d i g re s s i n g , b u t t h e f i r s t . p e n i s s h o w i n g i n c iden t ,

        18   was t h a t a l s o a t G r e e n br iar ?

        19            A         Yeah .

        20            Q         Oka y .     Go ahead .

        21            A         And you w a l k f r om               this i s the k i tchen

        22   a n d t h i s t h e d i n i n g room .        And connected t o the

        23   d i n i ng room was my mom ' s r o om , wh i ch i s t h i s l o n g

        24   area .         And t h e n o n t h i s wa l l where t h e d i n i n g r o om

        25   s i t s , t he r e ' s a b a t h r oom, so he wa l ked out of t h a t




                                               PAGE# 5 2 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 56 of 148 PageID 1317


                                                                          53




         1   bathroom, walked past me, t urned around, s h owed me
         2   his penis and then walked back off.
         3           a   Did he s a y anything to you?

         4           A   Not that I remember.

         5           a   Do you remember what he had on?

         6           A   Nope.
         7           Q   Do you remember di d h e pull them down or

         8   did he j u st do the s ame thing as he did the first
         9   time?
        10           A   I believe it was the same thing as he did
        11   the firs t time.

        12           Q   So basically they were the s ame, they were

        13   j ust at different times in different rooms?

        14           A   Yeah.

        15           Q   And did you say anything to him?

        16           A   I might have .   I might have, but the onl y

        17   thing I could think that I would h ave s aid to h i m is

        18   I 'm telling.   That ' s the only thing I possibly think

        19   I c�uld have said to him .      I f I didn't say that, I

        20   might not . have s aid anything at all .

        21           Q   And you said he just laughed?

        22        . A    Yeah.

        23           Q   But didn ' t s a y anything?

        24           A   Unh-unh.

        25           a   And do you know where he went?




                                    PAGE# 53 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 57 of 148 PageID 1318


                                                                           54



         1           A      Probably either to the bed or to the .
         2   computer.

         3           Q      And then you ended up telling someone

         4   about that inc ident?

         5           A      I told my mom.

         6           Q      How long after?
         7           A      Like I wouldn ' t say five minutes after
         8   that.       It wa.s -- I didn' t even finish ironing my

         9   clothes.       I j u s t went up and told rriy mom.
        10           Q      So i t was minutes?

        11           A      Yeah.

        12           Q      Police were called.     Did the police come?

        13           A     . Yes.
        14           Q      And did you talk to them?

        15           A      They asked me questions, but I was hal fway

        16   asleep , halfway awake , and so -- yeah.

        17           Q      Okay .   Do you remember what you told them?

        18           A      ( Shakes head. )

        19           Q      No ?

       20            A      ( Shakes head. )

        21           Q      Is that a no ?

       22            A      That's a no.

       23            Q      And do you know if you ever told them

       24    about the inc ident when you were eight and he

        25   touched your butt?




                                        PAGE# 54 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 58 of 148 PageID 1319


                                                                            55



         1          A   N6.      I never told them that.

         2          Q   Okay ,
         3          A   It j ust resurfaced in January . ·

         4          Q   And, again, during that incident when you
         5   . were eight, you don't remember ever seeing his

         6   penis , anything like that?

         7          A   ( Shakes head. )

         8          Q   No?

         9          A   No.

        10          Q   And the second incident where he showed

        11   y_o u his pen is do you r emember if it was erect or

        12   not?

        13          A   No.

        14          Q   I know these are weird questions.

        15          A   Because you're used to it.

        16          Q   Well, you're right.       I ' m used it.   You're

        17   not use,d to talking about this, but I app reciate

        18   your honesty.       Now, this time when the police were

        19   called, they come to the house?

        20          A   ( Nods head. )

        21          Q   I'm sorry.·      The first time the police were

        22   called they come to the house and you talk to them.

        23   Was anyone ever arrested that you were aware of ?

        24          A   No.      They j ust asked him to leave the

        25   premises becau�e my mom was threatening to kill him.




                                     PAGE# 55 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 59 of 148 PageID 1320


                                                                             56



         1.   M y mom and m y uncles who have not even yet came

         2    becau se she called my uncle and he -- him and my

         3    other uncle was at the club.        And he wa s like, I'm

         4    on my way.       I 'm on my way.   So I don't know how long
         5    it took the cop s to come, but we had left from that

         6    s ide of town to another side of town to go get my

         7    uncle and then back -- I think we went and got my

         8    aunt.       We had to have gone to go see my dad because

         9    I remember my brother cursing him out about it .

        10                   And we came back and then the cop s were

        11    there and my dad, who I really now -- really dislike

        12    because that 's just terrible, he was helping and -­

        13    j oking and laughing with my un cle while helpi ng him

        14    get his stuff .

        15            Q      Since that time have you seen Clif?

        16            A      I n the picture?

        17            Q      I n a picture, but not per sonally.

        18            A      No.

        19            Q      You saw his picture on the I nternet?

        20            A      Yeah.   When the cop s showed us.

        21            Q      When he was arrested or when the cop

        22    showed you a picture of him?

        23            A      Yeah.

        24            Q      So now we ' re going to fast forward to thi s

        25    year, January, which I gues s is, what, just a couple




                                       PAGE# 56 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 60 of 148 PageID 1321


                                                                           57



         1   of days after your birthday, right?         The day after ?

         2        A      Yeah.

         3        Q      Because your birthday is, what,

         4   January 3rd?

         5        A      Yes.

         6        Q      Okay.   And the cops are called on

         7   January 4th ?

         8        A      Oh, Jesus.      Okay.

         9        Q      E xplain to me how the cops got to be

        10   called on January 4th of this year?

        11        A      I don't know.      I j ust told my mom and she

        12   had her moment of grief because my uncle and her

        13   used to be so close.        She never thought that -- now,

        14   you can ' t even throw a boy at her right now� but she

        15   never thought it would          went that far.   She didn't

        16   want to go as far as what she had known before that.

        17   So she had her momen t of grief, and then she called

        18   the cops.

        19        Q      You mean - - she had her moment of grief.

        20   Like did she kind of freak out for a second?

        21        A      She cried .     She didn't freak out or

        22   nothing,    She j ust did it as calmly.      Way more

        23   calmer than you would have thought anything else.

        24   And she just walked up there, cried a lit tle bit,

        25   and called the cops.




                                       PAGE# 57 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 61 of 148 PageID 1322


                                                                             58



         1        Q     Okay.     What did you tell her?

         2        A     I   told her that my uncle molested me .

         3        Q     Did you ever use the word sodomize?

         4        A     Yeah .    When the cop asked.

         5        Q     Okay. What is your understanding of what

         6   sodomize is?

         7        A     Butthole.

         8              THE WITNES S :    Don ' t write that one .   She

         9        wrote it anyway .

        10        Q     You mean when the cop .asked you, did the

        11   cop use that word first or did you?

        12        A     I used the word.

        13        Q     Where did you learn that word?

        14        A     I've been knowing that word since forever

        15   ago . . I can ' t remember where I learned it from .      I .

        16   just knew what it was.

        17        Q     So you . told your mom that he molested you.

        18   Did you give her any details about what he did?

        19        A     No.      I don't think we've actually

        20   specifically talked about what he's actually done

        21   because I ' ve talked to the state attorney and these

        22   state attor neys       we ll, not the state attorney, but

        23   the girl at SVU or whatever who came to my house,

        24   and the s tate attorneys and that was it.

        25        Q     When you � poke to the police then, did the




                                     PAGE# 58 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 62 of 148 PageID 1323


                                                                           59



         l   po lice come to your house that day?

         2           A   Yeah.

         3           Q   Do you k now was it a male or female who

         4   came?

         5           A   It was a male.

         6           Q   And do you know what you -- what you told
         7   him . or her -- or him, I guess?

         8           A   Wel l , just the sodomi zing p art .   My uncle
         9   sodomized me and he asked questions .        My brother
        10   came in.    It was a hyster ical event and all this
        11   other stuff.      I know it has nothing to do w i th that,
        12   but still I had to say that in order to rejog my

        13   memory.

        14           Q   Sure.

        15           A   My brother came in and he was crying and

        16   whatever and he got mad .       Threw his lit tle fit s of

        17   rage, and t hen I can't remember now .

        18           Q   Okay ,

        19           A   I shouldn't have said none of that.

        20           Q   Did you tell the police that he touched

        21   your vag ina and breas ts under your clothing?

        22           A   No.      I don't remember any of t hat .

        23           Q   And who is -- is it Shantel ?

        24           A   I ' m not sure -- I know - - I think I know

        25   who yo�'re talking a bout . .




                                      PAGE# 59 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 63 of 148 PageID 1324


                                                                           60



          1         Q    Shantel Harris.

          2         A    Shannon?

          3         Q    Y'all call her Shannon.

          4         A    Yeah .

          5         Q    Who is she to you?

         6          A    My uncle 's ex .

          7         Q    Was she Clif's?

          8         A    Yeah.     I t was j ust Clif's baby mama.

          9    F irst it was boyfriend and girlfriend or whatever.
        10     Maybe that got engaged.      I can't remember, but they

        11     are not even cool or anything.       It ' s j ust

        12          Q    Did you get along with her?

        13          A    I would say yeaq.       She used to take me

        14     some places.     I never disliked her.

        15          Q    Did Clif ever take you anyplace?

        16          A    Yeah.     He took me and my brother a lot of

        1 '7   places.

        18          Q    Where would he take you?

        19          A    Like to stores.       I mean, to visit people.

        20     It was l i ke nothing really.    It was just like during

        21     family events.     He 'd take us to family events or he ·

        22     would take us to the store.      He used to take us to

        23     school all the time and - -

        24          Q    Was there a time when anyth i ng happened

        25     when he took you to Wal- Mart?




                                      PAGE# 60 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 64 of 148 PageID 1325


                                                                                  61



         1·        A        Huh?      I don't think so.
         2         Q        He drove you to Wa l -Mart?

         3         A        I   don't know,       I   don't think anything

         4    happened.

         5         Q        H e never asked you to have se x with him
         6    while you were on your way to Wa l -Mart or anything
         7    like that ?
         8         A        No .

         9         Q        Ok ay.

        10         A·       Have se x _w ith him on the way to Wa l-Ma rt?
        11         Q        Did he thre aten he was going to kill you
        12    or anything like that?

        13         A        No.      No.
        14         Q        Okay.

        15         A        But he was -- he ' s crazy, so , I me an , I

        16    don't think a thre at was necessary.

        17         Q        What do you mean he's craz�?

        18         A        You know how people come back from war and

        19    t hey're kind of shut off ,             He had· h is moments when

        20    he was like I want to cut somebody 's head off or

        21    stuf f like that.            It was just -- because he wanted

        22    to go back to war and shoot somebody in the head or

        23    something.        I don ' t know.       He was just shot out.

        24         Q        Was he in the war?

        25         A        Yeah.      That's a pretty big manila folder.




                                            PAGE# 61 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 65 of 148 PageID 1326


                                                                                   62



         1    My head hurts.             Is that it ?

         2           Q          I 'm s orry.     I'm still · looking.
                                                                          ,.
                                                                        I don't

         3    read very qu ickly.

         4           A          It was like -- becau se it was just a
         5    s ilent pau s e.

         6           Q          Yeah.     That happens.
         7                      MS. GALNOR:       We like silence, don't we
         8           guys?

         9           Q          Then did you ever s peak to another female
        1:0

        11           A          Yeah.     I did speak to a female detective,

        12    the one that came to my hou s e.

        13           Q          Do you remember what you told her?
        14           A          I remember she wa� s urpris ed becau se she

        15    thought I was eight years old and I u sed the word

        16    s odom i 2 ed .

        17           Q          Okay .

        18           A          I can't spec i fical ly remember.       Probably

        19    the same thing I to1d them .

        20           Q          Did you ever tell her that he touched your

        21    vag ina or your brea.s ts or anything like that?

        22           A·         I don ' t think I ever tol d her that.

        23           Q          And did he do that ?

        24           A          I don' t beli eve so, no, but I do remember

        25    my mom telling me that Shannon told her that he used




                                               PAGE# 62 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 66 of 148 PageID 1327


                                                                             63



         1   to always suck on me i n between my legs which· is
         2   beyond me .

         3           Q     But you don't remember that?

         4           A     No.
         5           Q     What grade are you i n right now?

         6           A     I ' m a junior ,
         7           Q     You're a j unior.      I asked what your grades
         8   are like.      Do you get in any trouble in school or

         9   no ?
        10           A     No.

        11           Q     Good for you.      Don't.

        12           A     I could honestly say the only probl ems

        13   that my . teachers have with me is that I laugh too

        14   loud.

        15           Q     There is certa inly nothing wrong with

        16   laughi ng too l oud .

        17                 Have you spoken to Clif since he was

        18   arrested ?

        19           A     No.

        20           Q     When is the -- when would you say the last

        21   time you spoke to him is?

        22           A     I had to be 1 0 or 11.

        23           Q     You were young?

        24           A     Yeah .

        25           Q     And you ' re 16 now?




                                       PAGE# 63 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 67 of 148 PageID 1328



                                                                            64



        1          A        Yeah.

        2          Q        Do you even remember what he looks like?

        3          A        I heard he looks l ike Jesus, a black

        4   Jesus.        That ' s what my brother tol d me.

        5          Q        Is that because of his hair maybe?

        6          A        Yeah.
        7          Q        You sa id the officer showed you a picture
        8   of him?

        9          A        Uh-huh.

       10          Q        Do you - - when was that?

       11          A        When he came, January 4th.

       12          Q        Okay.     You brought it up on his computer

       13   or something?

       14          A        Yeah .    To make sure that we were going for

       15   this _ _...

       16          Q        We were all talking about the same person?

       17          A        Yeah.

       18          Q        He j ust showed you one picture or a f ew

       19   pictures?

       20          A        I b e l i eve so.   I don't know.

       21          Q        And despite talking to obviousl y Ms. H ixon

       22   and Ms. Scarl ett here and the pol i c e, have you

       23   talked to anybody else about this c ase?

       24          A        We ll, not since there ' s been -- continuing

       25   the case.        The only thing I remember talking to




                                          PAGE# 64 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 68 of 148 PageID 1329


                                                                           65



        1   people about is that I was telling my teachers so

        2   that they would be prepared and give me my stuff in
        3   advanc e , that I was going to a deposition.

        4           Q   What did you tell them?

        5           A   That I was going to a deposition.         And
        6   they were like , for what ?     I was like , for something
        7   a long time ago.      They were lik e, oh.
        8           Q   They didn't ask any more que stions?
        9           A   No.
       10           Q   And you didn't s hare anything more with

       11   them?       4•, • .


       12           A   No.

       13           Q   Have you been going to any counseling

       14   since this happened?

       15           A   No.

       16           Q   Would you say that you have trouble

       17   dealing w � t h it like mentally?

       18           A   I have trouble dealing with a lot m entally

       19   because it seems like now that my mom s eems to be

       20   getting worse with her illne s s , stre s s i s j u s t

       21   everywhere.

       22           Q   Do you get along with your mom?

       23           A   At point in times.      Like it's not a bad

       24   relationship , but it ' s not all that terrific.          Me

       25   and her can l augh and j oke.     She will call me silly




                                   . PAGE# 65 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 69 of 148 PageID 1330



                                                                                  66




        1   all day, but there are points in times where we

        2   clash heads too, so - -

        3         Q,      I th ink that ' s probably pretty normal for

        4   a 16-year-old and a mother .              I was there w i th my mom
        5   I think at one point in time for many years .
        6                 W hat about your br othe r , do you get along
        7   with him?
        8         A       Not right now.
        9         Q       Jacobi?
      10          A       Not right now .

       11         Q     ·,. W hy ?. _
       12         A       Because he is very d i sres'pectful.         He does
       13   not know what to say out of his mouth and he just

       14   dri ves me cra z y .         There is points in times when I

       15   just want to choke h im half to death.

      ,16                 THE W ITNESS :         Don't put that.

       17         Q       You' re twins?

       18         A       Yeah ,        She' s     that is not attempted

       19   murder , by the way.

       20                 THE W ITNESS:          Make sure you write that.

       21         Q       And then you have an older brother .           And

      22    what is h is name?

       23         A       Breon Graden ,

       24         Q       Breon.

       25         A       I call h im bubby ,




                                            PAGE# 66 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 70 of 148 PageID 1331


                                                                                 - 67




        1            Q        You get along with him?

        2            A        Yeah.
        3            Q        Okay .

        4            A       I - - honestly I believe that everybody is

        5   getting along with him and we ' re all getting along

        6   the way we are now because he moved out of the

        7   house.        And I th ink that would be best with

        8   everybody, i f everybody got their own sense of space
        9   instead of feeling like you have no privacy at all.

       10                    MS . GALNOR :     I don't think I have anything
       11            else.

       12                    MS. HI XON :    She' ll waive.

       13                     ( Witness excused. )

       14                     ( Depos i tion concluded at 3 : 22 p. rn. )

       15

       16    ( 4 : 1 5 p. rn. )

       17

       18   having been produced and first duly sworn as a

       19   witness, and having responded . " Yes " to the oath

       20   testi f ied as follows :

       21                              DIRECT EXAMINATION

       22   BY MS. GALNOR :

       23            Q        Cou ld you please tell us your name?

       24            A

       25            Q        And, Ms.               , what · 1 s your date of




                                            PAGE# 67 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 71 of 148 PageID 1332


                                                                          68



        1    bir th ?

        2          A    Sep tember 7 th, 1989.

        3          Q    That was September?

        4          A    Sep tember the 7th, 1989.

        5          Q    How old are you, then?

        6          A    23.

        7          Q    23.

        8               MS . GALNOR :     And off the record.

        9               ( Off-the-record discussion. )
       10               MS . GALNOR :     Back on the record.

       11    BY MS. GALNOR :

       12          Q    Do you currently work?

       13          A    No .
       14          Q    How do you support yourself?

       15          A    I go t diabetes, so I get SSI.

       16          Q    Do you have any children?

       17          A    Unh -unh.

       18          Q    Is that a no?

       1.9         A    No .
      20           Q    Sorry.      You j ust have to make sure you say

       21    yes or no because she's taking d9wn everything that

       22    we ' re saying here today .

       23               We're here today in the case of the State

       24    of Florida versus Clifton Brooks.         Do you know

       25    Mr. Brooks?




                                        PAGE # 68 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 72 of 148 PageID 1333


                                                                            69



        1          A     Yes.    That's my mama's best friend .
        2          Q     Your mom ' s best friend.      And what ' s your
        3    mom ' s name?

        4          A     Sharon Alexander.
        5          Q     How did they become friends?        Do you know?
        6          A     No, ma 'am .    I was younger.
        7          Q     How long have you known Mr . Brooks?
        8          A     For a long time.

        9         ·Q     Since before you can remember?        Like since
       10    you were a baby?

       11          A     Like      I was like I guess l i ke in
       12    elementary.
       -13         Q    Elementary school is when you f irst

       14    remember meeting ·h im?

       15         A      Uh-huh.

       16          Q     Did he ever l ive with you?

       17         A      No, ma'am.

       18          Q'   Would he visit you?

       19         A     At our house, visit my mom.

       20          Q    Did youi mom ani him ever have an int imate

       21    relationship meaning were they boyfriend and

       22    g i rlfriend?

       23         A      No.

       24          Q     No .   They were just str ict l y friends ?

       25         A      Best friends.




                                        PAGE # 69- 0F 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 73 of 148 PageID 1334


                                                                         70



        1        Q    And you don't know how they met?

        2        A    No, ma'am.

        3        Q    Do you know Shantel Harris ?

        4        A    Ye•.     His baby mama      or mother.
        5        Q    How do you know her?

        6        A    I know her through my grandmother.

        7        Q    Who i s your grandmother?

        8        A    Mary .

        9             Mary Butler?
       10             Uh-huh.

       11        Q    Is that a ye s?

       12        A    Ye s.

      13         Q    Okay.      And how doe s Shantel know your

      14    grandmother, Mary?

       15        A    Through my mother I gue s s.

       16        Q    You get along with Shantel?

      17         A    Uh-huh .

      18         Q    Is that a yes?

       19        A    Ye s.

       20        Q    Do you get along with Clifton Brooks?

       21        A    ( Shake s head.)

       22        Q    Is that a no?

       23        A    No.

       24        Q    Why?

       25        A    Becau s e when I was younger he had raped




                                     PAGE # 70 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 74 of 148 PageID 1335


                                                                                71




        1    me.

        2           Q        Okay .   How old were you?

        3           A        I was like 12.

        4           Q        1 2 years old?

        5           A        Okay.

        6           Q        Do you remember it pretty well?

        .7          A        ( Nods head. )
        8           Q        Is that a yes?

        9           A        Yes.

       10           Q        Tel l me what you remember.

       11           ,A       My mom      I guess I had got in troubl e ,
       12    and m y mama made me go i n my brother room and go to

       13    bed.        So my mother, • she was asleep.    She had done

       14    fel l off to s leep .       And I was just waking up and he

       15    was touching on me and stuff and like making me hush

       16    and stuff like that .            And I was only a child.   I was

       17    on ly 12, so I'm not going to do nothing.           And then

       18    like he was saying, oh, hush and all this.            And then

       19    he like forced his-self on to me and put it in me

       20    and had, you know, sexual -- sexual -- like had sex

       21    w i th me and stuf f l ike that.

       22                    And I was only 1 2 and I was scared to tell

       23    because he was saying that oh , he ' l l hurt everybody.

       24    So when you a chi ld, you not going to te l l because

       25    you's a chi ld, you know, so I was scared to tell my




                                         PAGE# 71 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 75 of 148 PageID 1336


                                                                                72



         1   mama.       And that's when I first started my first

         2   period ,     And like now I don't have no boyfriend .

         3    I'm gay .     I like g i rls.     So that ' s like -- he really

         4    messed me up a lot .         Like a lot.    And I had
         5    n ightmares .        I can ' t sleep at ni ght like

         6           Q      Where did this happen, at your house?
         7           A      It happened at my house.        We was stay i ng

         8   on commonwealth and Heron.            I was 12 going to We- - ­
         9    I was going to Wes � Jax Elementary School.

        10           Q     . Was - - was it i n the middle of the night

        1 1 . ' that this ,happened? ·

        12           A      It was in the middle of the n i ght,

        13           Q      Was he staying at your house that n i ght?
        14   Do you know?

        15           A      No .     He came over to visit my mom , and my

        16   mom fell asleep and I guess he was in there watching

        17    TV ,   And then he --

        18           Q      You said thi s was in your brother's room?

        19           A      Yes.      My brother he was -- he liked to get

        20    in trouble all the time and stuff like that .            Go to

        21    j uvenile, you know, detention center.           And he wasn't

        22   there at the time.           And then I was scared to tell

        23   him because I know how my brother and them is , so I

        24    didn't want to get my broth�r and them in no

        25    trouble.      And I was scared to tell because he told




                                          PAGE# 72 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 76 of 148 PageID 1337


                                                                          73



        1   me he wa� going to hurt everybody in the house.

        2        Q       W hen is that the. fir st time that you told

        3   somebody about this ?

        4        A       Like I told my grandma , and I told her not
        5   to tell .    I was like , don't tell , Grandma , because I

        6   k now how my brother and f amily is.          And I didn't

        7   want it to start like -- you k now , spread like -­
        8   get real cra z y , out of hand.

        9        Q       So you told j ust your grandmother?

       10        A       Just my grandmother.

       11        Q       And when did you tell her, right a fter it

       12   happened ?

       13        A       No.   I told her like later down the line

       14   l ike years -- like years later.

       15        Q       D id s he ever tell anyone?

       16        A       She s ay she didn't , but I think s he told

       17   my s ister, my oldest sister.

       18        Q       And what is your oldest s i ster's name?

       19        A       Nes honta ( phonetic ) Alexander.

       20        Q       Can you spell her first name?

       21        A       It's kind of dif ficu lt.       Like -- yeah .

       22   I t's kind of difficult.

       23         Q      What did you s ay it was aga in?

       24        A       Neshonta.

       25         Q      Nes honta?




                                      PAGE # 73 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 77 of 148 PageID 1338



                                                                          74



        1              MS. GALNOR :      Just do your best with that,

        2         I guess.

        3         Q    Have you - - how did you come to te l l the

        4   police or the State Attor ney's Office here in this

        5   case? ·

        6         A    Because my grandmother -- I guess the baby

        7   mother I guess talked to my grandmother and told her

        8   or whatever.      She didn't believe it and I guess got

        9   on the Internet and looked it up or whatever.         And I

       10   was _like -- it would be best for me to come and tell

       11   so he won ' t hurt nobody else child because that's

       12   not right to like do that stuff to kids.

       13         Q    You said whe n he - - did he actua l ly put

       14   his pen is in your vagina?

       15         A    Yes.

       16         Q    Had you had se x before?

       17         A    No.

       18         Q    Was it painful ?

       19         A    Yes, ma' am .     And I got up and I was

       20   b l eeding and I had went to -- when I we nt to the

       21   restroom, I was bleeding.        I was scared like to even

       22   tell my mom like she went          and I felt like she

       23   wasn • t · going to believe me because that's her best

       24   fri end or, you k now, somethi ng like that.

       25              And then I was scared a t the time· because




                                       PAGE# 74 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 78 of 148 PageID 1339
              . ..    '




                                                                               75



         1   he was telling me don't tell.            If you tell, I ' m
        2    going to hurt ever ybody.          So I'm a child.     When you
         3   a child , a child ' s going to be scared ,         They not

         4   goin g to tell.         So I didn't tell.      So I told later
         5   down the line , like years ago told my grandmother .

         6   I was just sitting there and I told her about what
         7   happened.
         8            Q      What did she say when you told her?
         9            A      She was �ooking at me like why didn 1 t you
        10   tell?        Why didn ' t you t ell?   L i ke why didn't you
        11   tell somebody when this was done to you, when stuff

        12   was gettin g done to you like that ?

        13            Q      And it just happened one t ime ?

        14            A      It happened one time.       Then like when I

        15   was 1 4 he was like - - we was staying on the

        16   Southside on R i n g Lane in Harre ll House Apartments,

       17    3�50 Ring Lane. We was staying over there and he

       18    was rubbing on me one day and touching on me.

       19    Everybody was in the house .           So J was like     he

       20    l ik e        I get u p and hurry u p and move so, you

       21    know          I was so scared like I don ' t know what to do

       22    like he done rubbed on me and touched on me and

       23    stuff, but he only l i ke had sex with me one t ime.

       24             Q      Just that one time when you were 12?

       25             A      Yes .




                                         PAGE # 75 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 79 of 148 PageID 1340


                                                                                              76



           1             Q    And how old are you, 23? .                    So I guess that

           2     would have been 11 years ago?

            3            A

           4             Q    Do you remember : tt pretty well?

            5                -Yes.    I dDn't forget nothing like that :

 .. . .    6     That's nothing you can forget, about something like

            7    tnat.

           8             Q    Do you remember what you were wearing that

           9     day?

          10             A     I had · on a . b� •�k ' -li�tie dress with -- my

                                              And I gue,ss it was too big · ·
                                                          ...   ,, .
                                                       4' 1�.,"tf      ·,


          12     for her and she gave it to me, and I used to sleep

          1 3.   in it.      It• was black, · a black little dress with

          14     white trimming.




          17             A     I don't remember .

          18             Q    And what e xactly did he say to you when he

          19     did this?

          20             A     Like he was -- like he was with                       he

          21     wasn't saying nothing .       He was j ust · doing                  like

          22     having sex with me, and I was like scared like

          23     crying.      I was like scared.     I didn't know what to

          24     do.     And then when he got through, he was like, if

          25     you tell anybody, I' m going to hurt everybody in




                                          PAGE# 76 OF 144
                   Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 80 of 148 PageID 1341


                                                                                                                                                                77



                                                 1    he re.               So I ain't want him to hurt my mother and -­

                                                2     my mama and them and eve rybody .                                And then I didn't

                                                3     want to tell be cause I didn' t wan t it to ge t to my

                                                 4    brothers and them be cause if it would have got to

                                                5     them, it would have been worse ,

                                                6                 Q           Do you think they would have hur t him or
                                      j,

                                                 7    something?

                                                 8                A           Yes ,     So     I    j ust kept it --          I   j ust kept i t
                                                 9    inside.

                                              10              . Q             Did you ever talk --
                                                       . :M!liiJll(.t, •
                                                        ' ·T.'t. ·A · .      ·A,nd ° i�y-   m6�. did-� i',llj!�!'.''J?now r · had a p�r'.i, od .   'i'I':''""

                                              12      Like she didn't even know like --

                                              13                  Q           When did you start your period?
                                            · 14                  A           Like right af�er that happened.                          Right

                                 r.        ... .1 5   after
                                                       .    that I st
                                                                   . �� ��d having a period.
           .. . .
·•,,11,:":' ,/ • • " ,, : ·, .
                                                                  Q           Have you . · ev�r ta lked to him abobt it, Clif
                                                                                                                                        0



                                              17      about i t?

                                              18                  A           No.

                                              19                  Q           Did you guys ever have a conversat ion

                                              20                  A           No.

                                              21                  Q                 where you say you shouldn't have done

                                              22      that or

                                              23                  A           No.     Like when I usual ly see him downtown

                                              24      and stuff, I look the other way .                                  I look the other

                                              25      way because I be s cared. Like is he going to walk




                                                                                                   PAGE# 77 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 81 of 148 PageID 1342


                                                                            78



         1   up to me and say something or speak to me or

         2   anything l i ke that.    I look the other way or go
         3   behind a pole or something l i ke that.

         4              And I have like nightmares.        Like it ' s so
         5   crazy like I be up all night.        And it's like really
         6   like -- I don ' t like men.     I don't trust them
         7   because o f that.    No ne of that.
         8         Q    Did you ever see Mr. · sro o k s be vio le nt
         9   towards Shantel Harris?
        10         A    No.

        11         Q     Did you ever see Shantel be vio lent
        12   towards Mr. Bro oks ?

        13         A    No.

        14         Q    Mr. Broo ks , with the exception obviously




        17         A    Ju st that accident that happened, jus t

        18   that rape thing.

        19         Q     Did he use force during that or did you

        20   mostly j ust comply because you · were scared ?

        21         A     I was scared , . s o I j ust gave i n.   I' m a

        22   child �   I was a little girl then.

        23         Q    Were you aware of any allegations that he

        24   may have touched s omeone back in like 2006 and that

        25   the police were called?




                                     PAGE# 78 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 82 of 148 PageID 1343


                                                                                79




         1          A      No .

         2          Q      Were you aware of - his        him being
         3    arrested in 20 06 for like a domestic battery?

         4          A      Not that I know of.       I just know about me,
         5    what happened to me. , That's all I know.          I don ' t
         6    know about other people.         All this extra stuf f I
         7    don ' t k now,      It ' s just -- what I know is what been

         8    done to me.
         9          Q      Do you currently have a partner, like a
        10

        11

        12          Q      You do.      Does your grand�other -- does . she ,

        13    get the Social Security money that you get and then

       . 14   she gives it to you or --
        15          A      No.

        16          Q             do you actually receive it yourself?

        17          A      My mother -- it come in my mother name.

        18          Q      I t comes in your mother 's name?

        19          A      Uh -huh.

        20          Q      Why is that?

        21          A      I don't know.

        22          Q      Is that the way it's always been?

        23          A      Yeah.      That's the way it' s always been,

        24    but why are we talking about that?           We should be

        25    talking about what's been done to me.




                                        PAGE# 79 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 83 of 148 PageID 1344


                                                                                                 80



         1                 MS. H IXON :        She can ask you some

         2          background questions just to clarify things, so

         3          this is her opportun ity j ust to ask some stuf f ,

         4          okay? · :

         5                 T HE W I TN� SS :    Yes, ma'am.

         6          Q      Do you know

         7          A      No.     I don't even know who is that.

         8          Q      Do you know

         9          A      No .

        10          Q      Do you know a Breon Graden?

        fl :        A     · No, ma'a'in. ·.

        12          Q      So explain to me aga in how you reported

        13     this to police and -- and got involved with

        14     Ms. Hixon here at the State Attorney' s Office?

        15 ,        A     . My · mother did.       She · wa·s ..try ing to ge·t·· · .. . -�� .

        16     like · a -- I didn't report it.            My mother found out �

        17     guess by my         I guess my grandmother told my sister

        18     and I guess my sister told my mama, you k now how it

        19     goes l ike that .     And I guess she got in touch w ith

        20     y' all or whatever and then she was talking to me.

        21     Then I felt I wasn' t - - I was scared to come because

        22     I ' m scared because I think his people is go ing to do

        23     something to me, so --

        24          Q      Have you ever been threat�ned by anyone

        25     regarding this?




                                          PAGE# 80 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 84 of 148 PageID 1345


                                                                                   81




         1             A        No, but this is serious, so

         2             Q         So you do not know              ?
         3             A        No .      I don' t know who that is.

         4             Q        Do you know a
         5           ·.. A       ( Shakes he ad.)

         6             Q        No?       Was tha t a no?   Sorry.
         7             A        No.

         8             Q        Who do you currently live with?        And I ' m
         9   not asking your address, but, I mean, who lives with
        10   you?            Do you live in an apartment or a house?

        11             A         I live in ah apartment.

        12             Q        Who lives with you?

        13             A        Me .

        14             Q        Just you by yourself?

        15                      Y e ah.

        16             Q        Who all have you spoken to in terms of --

        17   I' m not talking_ � bout family members because I know

        18   you told your grandma and I think you said that your

        19   grandma told your sis ter.               Have y9u spoken to anyone

        20   else about this?

        21             A         Unh-unh.      I don't like talking about it at

        22   all .

        23             Q        Understandable.

        24             A         I don't like that .

        25             Q        What about Ms. -- have you spoken to




                                               PAGE# 81 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 85 of 148 PageID 1346


                                                                                    82




         1   Ms . Hi� on about it ?
         2               MS. HIXON :        Me .
         3           Q   Sorry .    Her .
         4           A   Yes.
         5           Q   And Scarle t t, �ave you spoken to her about
         6   it?
         7           A   She was in t here with us, yes .
         8           Q   Okay .    And did you j u s t meet with them
         9   once?
        10           A   One time.
        11           Q   And who was in the r oom with you , a nyone? .
        12   I mea n you r grandma or your mom?
        13           A   No .
        14           Q   Jus t you and them by you r self?
        15           A    ( Nods head . )
        16           Q   I s t ha t a yes ?
        17           A   Yes .
        18           Q   Okay.     Sor ry.         Have you ever been arres ted
        19   for anythi ng?
        20               One time before, but               my friend had came
        21   t o pick me up to g·e t s omet h i ng to eat, and I didn ' t
        22   know the car was s t olen.             And they had got ten me
        23   on -- I w a s n't charged for it .           I t w a s threw ou t of
        24   cou rt through and the -- I gues s threw out of cour t

        25   o r wha tever .




                                      PAGE# 82 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 86 of 148 PageID 1347


                                                                                  83




         1          Q        Okay .     But you were initially arrested on
         2   it ?

         3          A        Yeah .     I didn' t sta y long or none of that .

         4   I wa sn't convicted of nothing like that .
         5          Q        So they figured out really what the case

         6   was and dropped it?
         7          A        Ye s .

         8          Q        That' s good certainly.        And this happened
         9   when you were 12, and then you said when you were 1 4
        10   there wa s another time where he
        11          A        L ike rubbed me .     L ike touched on me and

        12   stuff like that .           I don' t know .   It ' s cr azy .

        13          Q        But in terms of actual sex you j u st
        14   remember that one time?

        15          A        That one time .

        16          Q        When's the l a st time you saw him?

        17          A        I t ' s been a long time ,

        18          Q        L ike years?

        19          A        L ike    -- probably like three      years ago

        20   downtown at the bus terminal .

        21          Q        And you just hid from him?

        22          A        Yeah,      L i ke so he wouldn ' t spe ak to me or

        23   nothing like that .

        24                   MS , GALNOR :     I don't think I have anything

        25          else .




                                          PAGE# 83 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 87 of 148 PageID 1348


                                                                          84



         1             MS. HIXON :      She ' ll waive .
         2              ( Wi tne s s excus ed. )
         3'             ( Deposit ion conc luded at 4 : 32 p. m. )
         4

         5

         6

         7

         8

         9

        10
        11
       1 ,2
        13
        14
        15
        16

        17
        18
        19

        20

        21
        22
        23
        24

        25




                                     PAGE# 84 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 88 of 148 PageID 1349

                                                                                        85




          1                         CERT I F I CATE OF OATH

          2

          3   STATE O F FLOR I DA

          4   COUNTY OF DUVAL
          5

          6          I , the unde r s i gned autho r i t y, cer t i f y t h a t

          7   DONNA GRADEN, J . M . , and                               persona l l y

         8    appea red be fore m e o n October 3 1 s t, 2 0 1 2 , a nd were

          9   dul y sworn .

        10

        11           W I TNESS my hand and o f f i c i a l seal t h i s 1 4 th da y

        12    o f Jul y 2 0 1 4 .

        13
        14

        15                                  ���       R;�_QQ Jkwi1
                                             e ichenba ch
        16                                  Notary Pub l i c - S t a te of Flor ida
                                            My , Commi s s i on No . Ob8 8 0 4 7 9
        17                                  Exp i re s : Jul y 2 6 , 2 0 1 3

        18

        19



        21
        20



        22

        23

        24

        25




                                      PAGE# 85 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 89 of 148 PageID 1350

                                                                                          86



          1                           RE PORTER ' S CERT I FI CATE

          2    STATE OF FLOR I DA

          3    COUNTY O F DUVAL

          4

          5           I , Angel a Rei chenbach , Florida P r o fes s i ona l

          6    Rep or ter a nd No t a r y Pub l i c i n and for the S t a te o f

          7    F l o rida a t Large, h e reby cer t i f y that I wa s

          8    a u t hori zed to a nd d i d s tenag raph i q a l l y repo r t the

          9    depo s i t i on s of DONNA GRADEN , J. M . , and

         10                  ; . that a review o f the t ra n s c ript were not

         11    reques ted , and that the forego i ng t ra n s c r ip t , pages

         12    1 th rough 8 4 , i s a t rue record o f my s tenographic

         13    notes .

         14

        15           I    f u r t her cer t i f y t h a t   I   am not a re l a t ive ,

        16     empl oyee , a t torney , o r counsel o f a n y o f the

        17     p a r t ie s , nor am I a rel at ive o r empl oyee o f any of

        18     the pa r t ies ' a t t orney o r counsel connec ted with the

        19     a c t ion , n o r am I f inanc i a l l y i n teres ted in the

        20     action .

        21

        22           DAT E D t h i s 1 4 t h da y o f Ju l y 2 0 1 4 .

        23

        2 4,
                                                     An gel
        25                                           Cour t Repo r ter



                                          PAGE# 86 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 90 of 148 PageID 1351
      Filing # 1 6023205 Electror.   Filed 07/1 7/201 4 1 1 :26: I 8 AM
                                                                  1




          1                                                 IN � HE C I RC U I T COURT , FOURTH
                                                            JU DIC IAL C I RCU I T , IN AN D FOR
                                                            DUViAL COUNTY , fLORI DA
          3                                                 CAS;E NO : 1 6 - 2 0 1 2 -C F- 0 0 6 8 8 4
          2


                                                            D I \{ I S ION : CR-E
          4
                  S TATE or FLORI DA
                  vs .
          5


                  CL I FTON BROOKS ,
          7                  De fendan t .
          6


                  -------------'---/

          9
          8



        10        STATE OF FLORI DA
        11        COUNTY OF DUVAL .
        12
        13                Depo s i t ions o f SHANTELL HARRI S and JOSE RUI Z, t a ken
        14        o n beha l f o f the De fendan � , pursuant t o Not i ce o f Taki ng
        15        Depo s i t i o n s i n the above-en t i t l ed act i on , o n the 1 3 th day
        16        o f Decembe r 2 0 12 at 2 : 1 5 g . m . at the Of f i ce o f the State
        17        Attorney, 2 2 0 Ea s t Bay S t � eet , Jac ksonvi l l e , Florida ,
         18       be fore Hea the r K i n g , Court Reporter and Notary Pub l i c in
         19       and for the State of Florida
                                           I
                                               a t l a rge .


        21
        20



        22
         23
         24

         25




                                                 PAGE# 87 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 91 of 148 PageID 1352



                                                                             2

        1                            A P P E A R A N C E S
        2
        3     ANNA H I XON , E s quire
        4     O f f i ce o f the State Attorn� y
              2 2 0 Eas t Bay Street           1
        5     Jac ksonvi l le , Florida 3 2 2 0�
        6     Appea r i ng on beha l f of thel Stat e - of Florida
        7
        8     DARCY GALNOR, Esqu i re
        9     O f f i ce o f the Pub l i c De fender
              4 07 North Laura S t reet          i
       10     Jac ksonvi l l e , Florida 3 2 2 0 2
       11     Appea r i ng on behal f 6 f th� De fendant
       12

       13
       14
       15
       1 6,

       17
       18
       ·19

       20

       21
       22
       23

       24

       25




                                     PAGE# 88 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 92 of 148 PageID 1353



                                                                                               3


         1

         2   W I TNES SE S :                                                     · PAGE NO
         3   SHANTELL HARRIS
             DI RECT EXAM INAT ION BY MS . 'GALNOR , . . . . , . . . . . . . . , . . , . 4
         4
             JOSE RUI Z
         5   DIRECT EXAM INAT I ON, B Y MS . IGALNOR . . . . . , , . . . . . . . . . . . 4 7
         6
         7
         8
         9
        10
        11
        12
        13
        14
        15
        16
        17

        18

        19
        20
        21

        22
        23
        24

        25




                                       PAGE# 89 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 93 of 148 PageID 1354




        1.
                                                                                         4

                                             S T I P           fLAT   I O N
        2                  I t was s t ipulated and agreed by a nd between
        3    c ou n s e l for the respect ive: part i e s , and the w i t ne s s e s ,
        4    that the readi ng and s igni�g o f t h e depo s i t ions b y t he
        5    w i t ne s s e s be wa ived .
        6                                                  i_
        7
        8    having been produced and f!irst dul y swo rn as a wi tnes s ,
                                               SHANTE!LL HARRI S ,
                                                     !



        9    tes t i fied a s fol l ows :
       10                  THE W I TNESS :        Yes � ma ' am .
       11                                     D I RECT EXAMINAT ION
                                                      /
                                                           I




       12    BY          G,ALNOR :
       13                    Could you pleas � tel l me you r name .
                  MS .



       14                    Shante l l Harri s !
                     Q


                                                 i
       15                    Ms . Ha rri s , wha t ' s your date o f b i rth?
                     A



                             6 /2 8 /8 3 .
                     Q

       16            A

       17                    Whe re do you cutrently l ive ?
       18                    1 7 6 0 K-e-a- t -s Road .
                     Q



       19                    Kea t s Road?
                     A



       20                    Uh-huh .
                     Q



       21                    A nd that ' s i n Jr c ks o nv i l l e ?
                     A



       22                    Yes , ma ' am .       32r 08 .
                     Q



       23               We are here today in the ca s e o f the S t ate o f
                     A


                                          I
       24    Florida ve rsus C l i fton Brooks . H e i s charged with what
                     Q



       25    we ca l l Cap i t a l S exual Battery and i s faci ng a mandatory
                                                       I




                                             PAGE# 90 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 94 of 148 PageID 1355



                                                                                          5

             l i fe sentence in prison i f convicted .
         2                 Do you know Mr . Broo ks1
         1



         3          A      Yes ,
         4                 How do you know him?
         5                 We have two kids toge ther .
                    Q



         6                 I ·guess he was Jour boyfr iend or husband at
                    A·



         7   s ome poi n t i n time ?
                    Q



         8                 Boyfri end .
         9                 Boyfriend .      Whe ' s the l a s t time you had
                    A



             contact w i th him?
                    Q

        10

        11                 S i nce the l as t    ime i n - - I have no cont act .
        1 2 ' We we nt to court fo i the                   That is the l a s t t ime I
                    A




             s a w him .   I never spo ke t       him a ft e r that .
        14                 What t ri a l are f ou ta l ki ng abo u t '?
        13


        15                 When he p i s t o l - hippe d me .
                    Q

                    A

        16                 That was back i , 2 0 0 6 ?
        17                 Uh -huh .
                    Q




        18                 I s that a ye s ?     I ' m s o rry .   You h ave t o answer
                    A




        19   out l oud s o s he can get i .
                    Q



        20                 Ye s .
        21                 Te l l me about t at i nciden t .         Wha t happe ned?
                    A




        22                 We l l � we was at hi s hous e , whi ch was on
                    Q



        23    Frede ric ksburg i n She rwoo , .      That morn i ng h e a s ked me do
                    A




        24    I want to g o t o     my fami l y hou se .     I told him, yeah ,
        25    beca u s e I was n ' t g o i n g to s tay horn� a l l day .   S o the




                                       PAGE# 91 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 95 of 148 PageID 1356




               n i gh t s tarted fal l in g .         rt : was col d , and I t o l d him l et ' s
         2     g e t the babie s out o f the bold .               So when h e came to get
         1



               me , he had a pas s ion mar k p n h i s n ec k .
         4                      L i ke a h i c key?
         3

                        Q

         5              A      A h i c ke y .    And � o whe n he turn�d h i s nec k , I
         6     a s ke d him, what ' s that on your nec k ?                 He s a i d , what you
         7     t a l k ing
                       .   ab o u t ?    I s a i' d , you
                                                        j have a p a s s ion mar k on your

         8     ne e k th e s i' z e o f my p i' n ky . .I   He was l i ke , o h , oh ,           did
         9     that .       I s ai d , who ?     He s�id,            -- t ha t ' s h i s n i ece ,
       10      her name i s                 .   S o I 1 was l i ke , how did s he do that ?
               Oh , she was p l aying with me .               She j umpe d o n my back and
       12      s ta r te d s ucking o n my nee � .           I s a id , s o you l e t your
       11



       13      n i ne - year- o l d n iece s u c k    .dn   your nec k ?     He was l i ke , oh ,
       14      I ' l l be r ight bac k .         So wtlen he came back he was ups e t .
       15                       Recen t l y I j us t ! go t in format ion f rom                 's
       16      morn saying that C l i fton w 1 nt back to he r hou s e and told
       17      her tha t h e was goi ng t o �eat me .
       18                       This was back in 2 0 0 6 ?
                        A       Uh-huh .
                        Q



                                I s that a ye s ?
       21                       Yes �
       20               Q

                        A

       22                       I t ' s hard to remember becaus e we are j us t used
       23      to answe r i ng l i ke that i n norma l conve r sation .
                        Q


                                              r
                            So he came bac k to the hous e . He
       25      p i s t o l -wh ipped you .       He
        24 .

                                                      _L


                                            PAGE# 92 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 96 of 148 PageID 1357




         1                     He came back t o !my s i s t e r ' s house to pick me
                                                                                                  7

                        A

        2     and the k ids up .           I had m� nephew b i te me b e cau se he said
                                                  .   . I




              it was a b i t e mar k .         I s a �d , thi s i s a b i t e ma r k ; that is
         4    not a b i t e ma rk .        So he , was l i k e , s o you ' re i nves t igat ing
         3



         5    now?
                                                     I




         6                     So I cal l ed Donna .           S he didn ' t answe r the
         7    phone .
         8              Q      You a re tal king l about Donna Grade n ?
         9              A      Grade n .
        10

       1 1'                    He r son Breon Graden answe red the phone .                   t
                               MS. GALNOR :      G- r-a -d-e-n .
                        A

       12     a s ked him -- I s a i d , doe s ! your s i s te r know h ow to put
              p a s s ion mar k s on people ? ! He . sa id , oh , I don ' t thi nk so .
       14     H e s a id , why you a s k me t ma t?             I s a i d , because Cli f f said
       13



              that s h e p u t a pas s ion ma k o n h i s nec k .              He said, no, I
                                              I



                                                 f
              don ' t t h i n k s o , and . hung �p the phone .
       15


                               And C l i f to n wa s l o n h i s way bac k t o p i c k u s up ;
       16


              So whe n I got i n the car , l he was l i ke , why you cal led
       17
       18

       19     Donna ' s hous e ?       I was l i k� , becaus e you s a i d that s he put
       20     a p a s s ion mar k on you a nd j I know she don ' t know how to do
       21     tha t .       She i s only ni ne .          H e was l i ke , we l l , I ' m abou t to
       22     s how you for trying me .
       23                      So we wa s r idin� down the s treet - - r i d i ng
       24     down 1 5t h S t reet - - 1 5th �treet and Myrt l e Avenue , and he
        25    s ta rted h i t t ing me .       So w�en he h i t me I de fended mysel f
                                                      I




                                           PAGE# 93 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 97 of 148 PageID 1358




        i     a nd I h i t h im one t ime i n h i s face .         And that ' s when he
                                                                                              8




         2    p i c ke d the p i s tol up off Hi s left and s t a rted beating me
         3    all the way until we g6t �o She rwood .
                                      -
         4         Q    Did you have inj urie s ?
         5                 Yes .
         6                 Okay .    This cas       went to trial , r i gh t ?
                    A




         7                 Yes .
                    Q




         8                 Did · you tes t i fy at t r i a l ?
                    A




         9                 Yes .
                    Q




                           Who e l s e t e s ti f ' ed at t r i a l ?
                    A




                           Nobody , becaus e i t was j us t me and my kids .
       10           Q




                           Did Donna ?
       11           A




                           She wa s n ' t - - n • , she didn ' t .
       12           Q

                    A

                           She didn ' t tes tJ fy a t trial ?
       13


                           S he wasn ' t therJ .
       14           Q

                    A

                           What happened a J the trial ?
       15


                    A      They onl y gave j im one year in p r i s o n             one
       16           Q




              year and he · was a l ready d i ng a year i n j a i l .         The next
        17

                                            J
              day i t was t ime s erved and he got out .
        18


                           MS . HIXON :      I t l s dome s t i c battery .
        19


                           MS . GALNOR :      Ye h , I knew that .        I j us t didn ' t
        20·
                                                   a

                    know i f s he knew .
        21



                           THE WITNESS :        Y ah , I knew .
        22



        24    BY MS . GALNOR :
        23


        25          Q      I am going to a k you some que s t ions j us t




                                      PAGE# 94 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 98 of 148 PageID 1359




             general l y about Cl i fton, oka y?
                                                                                                            9

                                                              i
        1

                               How l on g have y 1u known him?
                                           I


        2

        3                      Now i t ' s been , l:i ke , 1 3 years .
        4                      Do you know i f �e has eve r had any s o r t o f
        5    mental hea l th p roblems ?
                      Q



        6             A        He acts l i ke , i t . j
                               T e l 1 me what yo       mean by th� t .
                                                    1
                      A
        7

                               H e -- i t ' s l i ke · when I l oo k a t my s o n ,                   see
                      Q

        8                                                                                        I

             h im .        My son has ADH D .      AJd the s t u f f tha t he used
             - - l i ke when we u s ed to gdt i nt0 a n argume nt , he l oo ked
        9

       10

             l i ke a dev i l i n the face , ' but he ' l l wal k a wa y .                   He ' l l
                                                          I
       11

             leave and h e ' l l come back 1 and he ' l l apol og i z e .                    And he
             don ' t s ay nothi ng .         And hd do a l o t o f thi ng s .                        be
       12


             as k i ng him, wha t ' s wrong ?                     H e s ays , oh , noth i ng . · And
       13                                                                                    I

       14                                                 I
             then when s omebody cal l s , im and s ay they need him, he
             g rabs his guns and goes . 1 That ' s how I know he was going
       15
       16

             to do s omething bad .
                               Would . you s a y h � ' s a mean pe r s o n ?
       17

                      Q
                      .A       No·.   He ' s a sne.k ky person .
       18



                      Q         D i d you eve r s ee him exhib i t a n y s trange
       19
       20

             behavior , you know , s omet�i ng out o f the o rdinary, l i ke
                                                      I
             tal king out of h i s m i nd ot
       21
       22

       23             A.       No .
                               Nothing l i ke th t ?
                                                r
       24

                               No .
                      Q

       25             A




                                          PAGE# 95 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 99 of 148 PageID 1360



                                                                                                10

         1            Q         So you have not spo ke n t o him s i nce that trial


                                No .    We have an i n j unc ti on .
        .2    in 2 0 0 6 ?



                                There i s an i n j nct io n .         Has he ever t r ied to
         3            A




              c ontact you ?
         4            Q



                                No .
         5



                                Were you upset tlhat a l l he got wa s a year i n
         6            A



              that other cas e ?
         i            Q
                                                       I
                                Very ups e t .
         8

                      A

                                What i s your re at i oriship to Donna ?
         9



                                S h e i s j us t a n       s s ociate now .
        10            Q




                                How do you know her ?
        11            A



                                Through h im .
        12            Q

                      A

                                What i s her re l t i onship t o him?
        13



                                That i s h e r k i d s uncle .         The twi n s , that ' s
        14            Q

                      A

              their uncle .
        15



                                S o on thi s par t cu lar i ncide n t -- fi r s t o f
        16



              a l l , d o you know i f C l i ft n was eve r i n t h e mi l i tary?
        17            Q



                                Yes .
        18



                                He was .     Do you know wha t branch in the
        19            A




              mi l i ta r y ?
        20            Q



                                Marine s .
        21

                      A

                                Do you know for how long?
        22


                                E i ght y�ars .
        23            Q

                      A

                                Do you know whe , he got out o f th e Marine s ?
        24
        25            Q




                                           PAGE# 96 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 100 of 148 PageID 1361




         1                  I don ' t know when he got out , but I know he
                                                                                       11




         2    got out w i t h an honorabl e r i s charge .
                       A



                       Q    H e was out befo e you met him?
         4            · A   During .
         3



                            H e was s t i l l i rr the Marines whe n you were with
         6    h im?
         5             Q



         7                  Uh-huh .
                            O kay .
                       A



                            Yes .
         8             Q



        10                  Good catch .      Where did you meet h im?
         9             A



        11                  At my auntie ' s Jouse .      I t was when s he s t ayed
                       Q



        12    i n Sherwood on Fran kel la         Lad .
                       A



        13                  You were j us t . o e r there one day and he was a
        14    mutual fri�nd?
                       Q



        15                  To my cous in .
        16                  What are your f e l i ngs about C l i fton now ?
                       A



        17                  I hate , h im .
                       Q



        18                  You. don ' t l i ke   im?
                       A



        19                  No .
                       Q



        20                  You want to see him go to p ri s on ?
                       A



        21                  Uh-hu h .
                       Q



        22                  I s that a yes ?
                       A



        23                  Ye s .
                       Q



        24                  You want to s ee him go t o pri s on for l i fe ?
                       A



        25                  However long th y can keep h im becaus e I
                       Q

                      .A




                                        PAGE# 97 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 101 of 148 PageID 1362




                                                                                                12

              s u f fe r ever y day .     I take medi cat io n because o f what he
         2    did to me and my kids .
         1



         3             Q     O ka y .
         4             A      H e said that wh t ever we go through , h e was n ' t
              going to l e t the law take h i s · kids away f rom him .                   Eve ry
              day I s u f f e r with my son              ecause my s o n a s ks me every day
         5


              about i t and I can ' t tel l him nothing . .
         6
         7

                       Q      You s a id what h ' s put you t hroug h .            You mean
              with tha t i ncident bac k i'               2 O O 6 ?.
         8


                              Everything     5 10 c
                                                      I I me t h im .    He did s ome s tu f f
         9
                       A

              to me that I didn ' t appro e o f at · the t ime .                I t was
        10


              we i rd .
        11



                              Can you t e l l me what tho s e th i ng s are .
        12

                       Q

                              L i ke s ome time s         us ed to tel l him I didn ' t
        13
        14             A

              want to have sex .          He sai          he would have s e x anyway .         One
              t ime when he made me mad , I I went to my mamma ' s house j us t
        15


              to g e t awa y from him .        I , ame in l a te and he - - I l aid
        16


              a c ro s s the bed for a minube .
                                                    •t          He as ked me where I had
        17

        18
              been .       I told him I wasmy momma ' s house . And so he
                                              _
        19
              put h i s hands between my legs and then put h i s f i ngers in
              his mout h .      I was l i ke , why did you j u s t do that?               He
        20


              s a i d , I was j us t wan t i ng      fa     know i f you had sex with
        21


              another man . I didn ' t ch a t . I wasn ' t going to .
        22

                                          i.
                        Your s i s ter i s he woman you j us t ca l l ed on
        23

                   Q
                                          t
              the phone before we s tarted the depos i tion?
        24

        25




                                        PAGE# 98 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 102 of 148 PageID 1363




         1                        Yes , ma ' am .
                                                                                             13



         2                        I s her name                      or - -
                       A



         3                               .
                       Q



         4                               .    I s there s ome a l lega tion t h a t he
                       A
                                                            I
                                                            !
              s exua l l y a s s au l ted or abus �d h�r a t s ome poi nt i n t ime ? ·
                       Q



         6                        S he told          s h e b us t told me February of this
         5

                       A

         7    year .
                                                            I


                                  Why did s he tell ! you?
                            S he s a id i t wa s 6 n he r cons c i ence and i t wa s
         8             Q


                                                 I
              e a t i ng her up . She a s ked            s h e s ai d , i f I tell you
         9             A

        10                                                  le --
              s ome t h i ng , you promis e me you won ' t get mad?              I said,
              yeah , . what ' s wrong ?             She s1id when s he wa s i n s chool
        11
        12

              -- s he s a id            one day we tas s upposed to have a fami l y
              g a th e r i ng .     My momma needeci s ome t h i ng from t he store .        So
        13


              C l i fton popped up and s he � a id , do you want me to as k
        14                                              •       I




              C l i f f to t a ke me to Wa lmar! ? She s a i d , yea h , a � k him i f
        15

                                               i
        16

              h e can ta ke you to Walmart 1 to get the s t u f f I need .
                          She s a id on the way to Wa lma rt when they was
        17


                                             I
              o n 9 5 North g o i ng towards the Walmart o n . Lem Turne r , he
        18



        20    pul led over - � o n t he way . e wa s putting h i s hands i n he r
        19



        21    s h i rt .
        22                        How old was s he at t h i s t ime ?
                                  She s a id s he was 1 1 5 .
                                                                I

                       Q



                                  How o l d would he ! have bee n ?
        23


                                  I don ' t know .
                       Q

         25            A



                                                            .I

                                                      J
                                             PAGE# 99 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 103 of 148 PageID 1364




         1                   Do you know what year thi s happened i n ?
                                                                                                       14




         2                   No .
                      Q



         3                   How o l d i s s he now?
                      A



         4
                      Q

                             25 .
         5                   So i t wou l d hav           been about ten year s ago
                      A



         6    mayb e ?
                      Q




         7                   Yes .
         8                  And he i s 3 8 ?
                      A



         9                   38 .
                      Q




        10                   S o he would hav             maybe been 2 8 ?
                      A



        11                   Uh-huh ,                ]
                      Q




        12                   Go ahead .       I 'm       o rry .    I total l y interrupted
                      A



        13    you .
                      Q



        14                   She said he was touch i ng he r brea s t and
        15    touch i ng he r between her �egs .                   And she s a i d , he was
                      A



        16    l i ke , you s ca r e d ?    S he to f h im, ye a h , b e c a l s e          she got
                                                                                      i



              ups e t a n d s he was con s ta n l y e a t i ng he r n a i l s . S he said
                                               l
        18    she s ta r t i ng cryi ng . He wa s l i ke - - he pul led over and
        17



        19    s a i d , why you crying?         Sh        said, I ' m scared .            He wa s
        20    l i ke , oh , you don ' t have             o be s cared o f nothing .             So
        21    a ft e r tha t she s a id he s a d , I w i s h you was my baby momma
        22    i n s tead o f your s is ter an             t h i ng s l i ke tha t .       She s a id
        23    they went o n to the s tore , they .got the s tu f f .                        She came
        24    bac k , but s he got i n the               a c kseat .     So s he never tol d .
        25            Q      She never told              nyone ?       And s he j us t t o ld you




                                          PAGE# 100 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 104 of 148 PageID 1365



                                                                                                  15

         1    t h i s i n Februa ry?
         2            A        Yeah .
         3            Q        Was that a f te r t i s di s cl osure ?
         4                     Whe n s he found o t about       ' s s i tuation .
                                                 l
                      A

         5                     MS . GALNOR :         for the record i s
         6                               .
         7    BY MS . GALNOR :
         8            Q        So a fter                    a id ·th i s i s when your s i ster
         9    t o l d yo u?
        10            A        Yea h ,       She didn ' � know              tol d me , though ,
                      Q        But s he knew abo t                    ?
                                    She didn ' t rknow a t a l l about
        11

        12            A        No .                                        .
        13            Q        She didn ' t . Oka . Did you then t e l l her
        14    about               ?
        15            A        Tha t ' s when I told her abou t                   .
        16            Q        Wha t did s he sa            when you t o ld her about
        17                 ?
        18                     She j us t s hook        e r head a nd s ta rted crying
                                                       !
                      A

        19    a ga i n .
        20                     Wha t do you thi lk prompted he r t o t e l l you ?
                                                J
                       Q

                      A        She s aid she wa s t i red o f holding i t i n . I
              s aid I wasn ' t going to getl mad , but I di d, because l i ke �
        21

        22
        23    t o l d her , you could have pleve nted me from having another
        24    chi ld by that man .                I s a ij, I cou ld have j us t had that
        25    o ne , I s a i d , and you held i t i n thi s man y year s , but wha t




                                              '         1
                                             PAGE# 101 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 105 of 148 PageID 1366




              i s done i s done .
                                                                                             16



         2                  How many kids do 1 you have ?
         1


         3                  Two .
                    Q




         4                  Jus t those two ?
                    A




         5                  By him .
                    Q




                            Ha s s he ever s po ken to you s i nce t ha t t ime
                    A




              about i t ?
         6          Q




                            She don ' t spea k about it no more .          She j us t
         7
         8

         9    s a id she wanted to get i t �ver wi t h ; t h a t ' s why she let
                    A




              me know .     And I c a l l ed Don� a , a nd w i th t hem t ry ing t o get
              i n contact with me about ete ryt h i ng , that ' s when I told
        10



        12    he r whit happened w i t h m y sI i ster .
        11
                                                 I




        13                  Do you know who �al led the autho r i t i e s o r
        14    spoke to the autho r i t i es alliout            s cas e ?
                    Q




        15                  I did .
        16                  You did .     You cai l ed the pol i ce and them about
                    A



        17    it?
                    Q



        18          A       Uh-huh .
        19          Q       rs that a ye s ?
                    A       Yes .     I told Donna .     And Donna a s ked me i f
        21    they was t o get i n contact : wi th me woul d I t e l l them what
        20



        22    I know about                s s i tu4tion?    And that i s when I tol d
        23    them when they called me a � king . me about my s i s t e r .
        24                  Now , le t ' s m·ove 0n
                                                 I
                                                    to           ' s s i tuation .      It
        25    looks l i ke according           I aI m going o f f o f the pol i ce
                    Q




                                       PAGE# 102 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 106 of 148 PageID 1367



                                                                                              17

         1    r ec ords .     I t loo k s l i ke on June 2 7 t h the pol ice made
         2    contact w i t h you .         This wa     at your addre s s at 1 0 5 0 5 - - I
         3    don ' t even know how to s a y t h i s - -
         4                    Suomi Street .
         5                    MS . GALNOR : And that ' s S - u-o-m- i .
                        A



         6    BY MS . GALNOR :
                              So did you ca l l the po l i ce about                  ?
                              No .
         7              Q



                              You did not '?
         8              A



        10                   Her Uncle Jona t a n came t o my hous e because I
         9              Q

                                             j
                        A

        11    met h im i n the flea ma rket - - r ran in t o him at the flea
                                              l
        12    ma r ke t . He told me - - he a s ' l i ke , you heard what was
                                              I
        13    g o i ng o n ? I said, no , wha • s wrong ? He wa s l i ke , wel l •
                                              ,
        14    Superbowl Sunday -- t h i s wa s , l i ke , in March , e a r l y
        15    March .       H e s a id S uperbowl �unday                 yel l ed o u t - ­
        16    we l l , her momma as ked he r Lhy s h e w a s be i ng s o mean and
        17    h a t e f u l towards peopl e .     she s aid -- he s a i d s he blurted
        18    out , beca u s e C l i f to n rap inb me and you a c t l i ke you don ' t
        19    ca re .
                              She s a i d             s a i d t ha t ?
        21                    Uh-huh .
        20              Q



                              And who did she s a y that to aga i n ?
                        A



        23                    She s ai d that t o eve rybody i n t he hous e .
        22              Q



        24    Jonathan told me that that was what she outbu rst .
                        A



        25              Q     I s there anytime that you cal l ed the pol i ce


                                                                                                   ,   '




                                         PAGE# 103 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 107 of 148 PageID 1368



                                                                                      18

              about seeing him do i ng s om� th ing i n appropr iate to Jacori ?
                            Yes .
          1
          2             A

          3                 When was that ?
                            I t ' s when he bea!t me .      He had beat me in the
                        Q
                                               I

              car , and the po l i ce as ked me what happened and I told
          4             A



              them .
          5

                     Becaus e Donna had g ? t s ic k -- s he was s uppos ed to
              get marr i e d .
          6


                            She i s not we l l at a l l , i s s he ?
          7


                            Not now . She ha p got s i c k and she went to the
          8             Q




              hospi tal .    And we went to ta l k to her and l e t her know
          9


              that we was going to get t he twins because Breon ' s
         10


              grandmo ther g o t t hem .
         11                                       I




         13                 W e too k the k i cts l back t o the hous e o n
         12


         14   Fre deric ksburg          that ' s w�e re h e s tay a t .   He was i n the
         15   room - - we wa s a l l i n the f Oom . Ja cob i , her �rathe r , was
                                            •     I




         16   p l aying a game , but he was l t i ckl i ng her and playing wi th
         17   her .   He was t i ckl ing her tn i nappropria te p l a ce s .      I
                                              I
         18   a s ked him, why you ti ckl i n 1 her?
                            Thi s was wheri , b � c k i n
                            I don ' t remembe r 1 when she got s i c k .
         19             Q
                                                  I
                        A

                            Was thi s be fore } he pis tol-wh ipping incident ?
         20


                            Thi s was be fore that p i s to l -whipp i ng .
         21             Q



                            Becaus e you d idn / t have contact wi th h im a fter
         22             A

                        Q

         24   tha t ?
         23


         25             A   No .    This wa s be fore that .
                                                      I

                                                  I
                                                  I
                                                  l
                                      PAGE# 104 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 108 of 148 PageID 1369




          1                    How long be fore !t ha t ?
                                                                                                     19

                     Q
          2                    This wa s -- as           J       matter of fact , it was
          3   Ha l loween .       It probably wa� 2 0 1 1 .
                     A·



          4          Q         I ' m sorry .          Aga �n I i nterrupted you .        W e r e you
          5      . te l l me what you saw hi� do .
                               T i c k l i ng    --   she !h ad o n s ome s ho r t shorts .
          7                    How o ld was s he 'a t t h i s po int in t ime ?
                     A



                               She was e ight .
                     Q

                     A

          9                    She was e ight .           f hat did you see him do ?
          8



                               He was j us t t i c k:l ing her , l i ke r ight he re on
                     Q

                     A

         11   her c he s t and t i c kling her ! r ig ht h e re between h er l e gs
        10


         12   a nd thighs .
         13                    Did you ever say' anything to h im about i t ?
                               I as ked h im , why� are you t i c k l i ng h e r between
                     Q

         14

         15   her l eg s l i ke tha t ?            He wa $ l i ke , o h , because s he l i ke s
                     A



         16   it .   I s a i d , no .           You don ' t tickl e her between her l egs .
         17   You tickle her on her s tomk ch .                       I f you want t o t ickle
              he r , t i c k l e her o n her s tobach .                He s topped for a minute .
              And then h i s nephew was ups e t -- I mea n , h e r brother was
         18

                                                 I
         20   ups e t becaus e . h e was n ' t paying h im a t t e n t i on . He wanted
         19


         21   him t o play the game with h im , but he was playing with
                                                 '



         22               .   S o I t oo k t h e ce l l phone and went ups t a i r s �nd
         23   played Tet r i s becaus e my mind wa s going l i ke , o h , my God ,
                                                             I




         24   t h i s man h a s a problem , and i t was nagg ing me .
         25          Q         Where was                     , when you wen t ups ta i r s ?   Was




                                                     L
                                           PAGE# 105 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 109 of 148 PageID 1370



                                                                                              20

         1    s he s t i l l down t here ?
                              S he was s t i l l i n the room w i th him a nd the
         3    twins .      A l l three o f them          ere s t i l l in the bedroom with
         2            A



         4    my son a t t he time .
                               Did he ever say rnythi ng to you?
                              No .
         5            Q



                              Did he ever say, I ' m going to keep doing it
         6            A



              because she l i ke s it o r an thing l i ke , th a t ?
         7            Q



                              H e wa s l i ke , she l i ke it s o that i s why I am
         8
                      A

              t i c kl i ng .he r .
         9


                               He never s a id that he was spe c i f ical l y
        10

                      Q
              t i c kl ing her in those area 1 because he l i ke d i t or
        11                                       I




              anything ?                            r
        12


                      �       No .    He j us t s a i r tha t she l i kes i t .    He s a i d ,
        13


              s he l i kes i t so I ' m g o i n g � o keep doing i t .
        14


                               But later on thab n ight -­
        15


                               Did ;ou t e l i a��lri� ' �bdut i t ?
        16

                      Q

                               I told her mom .          She didn ' t wa nt to l i s�en , s o
        17



                  told her dad .
        18            A

              r
                               Who was her morn?
        19

                      Q

                               Donna G raden .
        20

                      A

                               Who i s her dad?
        21


                               Wi l l i am           .
        22            Q



                                             ?
        23            A



                               Uh-huh .
        24            Q

        25            A




                                          PAGE# 106 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 110 of 148 PageID 1371




                                  MS . GALNOR :
                                                                                                  21

                                                                         .
          2    BY MS . GALNOR :
          1



          3                       What did Donna s ky when you told he r ?
                                  We l l , a fter      I � m going to finish t h i s s tory
                        · Q



          5    a ft e r the t i c kl i ng ,
          4              A



          6                       As the ni ght went on - - the twins was i n the
          7    b ed .         I t u c ked them under  certain way because I wa s
                                                       k
               fee l i ng f unny .        I put Jacomi at the foot and         at
                                                    I

               the head o f the bed, but I had them l a y ba c k to back .
          8
                                                        I


        10     Because they are twins , th�y always s l eep together .                      I
          9
                                                        I



        11     tuc ke d them i n under the c�vers . Before t_h ey wen t t o
               s leep , C l i f ton turned o f f the TV and put the remo t e on
                                                 I

               the dre s s e r , wh i ch was by the door .
        12
                                                        I
                                                        I




                                  Now , i s the room l that they are s l eeping i n
         13


               a l s o the room that . you-a l l s leep i n ?
        14               Q



                            Yes , but we s l ept on the sofa bed that n i ght .
         15
                                                I

        1 7.   But i n the ma ster bedroom you can a l s o go t hrough the
        16             A



         18    bathroom to get to t he mas te r bedro om .                   So when they went
                                                        I



        19     to s l eep , w e went to the s ? fa bed a nd was laying down .
                                                        I


               He had o n a t a n k top                     unde rwea r .    That ' s how the
               man s leeps .          He kept               up .   I t wa s my f i r s t t ime
        20


               ever s e e i ng h im keep getting up th rough the middle o f the
        21


               n i gh t saying he has to use t he bathroom .                   So I cou ldn ' t
        22
                                                        I


               s leep becaus e I knew sometni ng was wrong .
         23
                                                        1




                                  So he got up anct he s a i d , I ' m . going to check
         24

         25
                                                        1




                                           PAGE# 107 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 111 of 148 PageID 1372



                                                                                                         22

         1    on the kids .                 I said, o k y .        He went i n - - ins t e ad
         2    o f going in the open roo                       doo r , he went through the
         3    b a t h r o om .      S o s ome t hing         aid g e t up . . I s a i d , n o ,
         4    because my heart wa s pouhding , l i ke , l iterally
         5    pounding through_ m y ches \ .                     S o he came and laid back
         6    down .         About an hour lat r he s a i d , I ' m going t o the
         7    bathroom .            I have t o u s e the r e s t room again .                 I
         a    s ai d , go ahea d , and I mo ed .                     When he c ame b a c k the
              s e cond t ime , h e was all                   rous e d .
        10                       Wha t do you mean by t ha t ?
         9



        11                       H i s pen i s was ar u s e d .
                         Q




        12
                         A

                                 O ka y .
                                                         1
                                                         I
        13                       He got behind me and put it up on my bac k ,
                         Q




        14    l i ke whe re - - on my butt .                 H e s a i d , a r e you a l l r i ght ?     I
                         A



        15    s a i d , yea h , I ' m f i ne , but            wasn ' t . .   H e s a i d , are you
        16    s ure yo u a r e o ka y ?                  .
                                                 I s a id 1 no -- yeah , I ' m o ka y .           I 'm
        17
        18
              f i ne .
                                                         1
                                 Why were you not J o ka y ?
        19                       Because he went · o the bathroom                      wel 1 , he
                         Q



        20    went to che c k on the kids , but he came bac k and was
                         A



        21    arou sed . ·
                                 Did he say he wa6 go i ng to check on the kids ?
        23                       He wa s goi ng to lhe bathroom , but I knew he
        22               Q



        24    wa sn ' t .
                         A



        25               Q       Did you see him go i n t he re ?




                                              PAGE# 108 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 112 of 148 PageID 1373




         1
                                                                                               23

                             Not that t ime .
         2                  You j us t k i fld o f had th i s hunch?
                      A


                                                  !
         3                  Uh-huh . so · the f h i rd t ime - - t h i s was a lmo st
                      Q



               s ix o ' clock in the morning ; he s a i d , I got to go to the
                     A



               b a throom aga i n .   So I s a id , o ka y - - something s a i d , get
         4
                                                  I




               up , and I was l i ke , o ka y , 9kay, o ka y , I ' m going to get
         5



               up .
          6



                             He was i n the bathroom .            L i ke I s a i d , you can
         7


               go f rom the bathroom and gb into the ma s te r bedroom .                  I
         8



        10     a m wal king a nd t rembl ing becaus e I ' m s ca red because I
         9



        11     knew whe r e h e wa s at .    I p0s hed the doo r open to check on
        12     t he kids mys el f that t ime . i He wa s l i ft i ng the cove r up
        13     where her feet was at .          He r legs was wide open from her
                                                  'I



               s leeping .   And he was looking . - - he was s it t i n g on the
        15     edge of the bed and he hact reached .                And when I opened
        1 4,


        16     the doo r , he had j umped up ,. and I s a i d , wha t are you
                                                  1



        17     l oo king for?  He s a i d , o h , . I was j u s t looking for the
                                                  !
        18     remote to che c k the news b T cause -- you know . I ' m l i ke ,
        19     we don ' t ever loo k at the mews at s ix o ' clock i n the
        20     mo rn ing .   So I s a i d , the remote i s right here where you
                                                      I

                                                 I
        21     l e f t i t on the dre s s e r . H� was l i ke , o h , o h , there i t
        22     go .   H e wa s p laying s tupid �          S o w e went bac k t hrough the
                                                      I



        23     bath room then .
        24            Q      When you say he o/as rea ching , where wa s he
        25     reaching ?




                                        -·             I

                                      PAGE#
                                       '•
                                            109 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 113 of 148 PageID 1374



                                                                                             24

                        A       Li ke be tween he J l egs .    I went to chec k to see
              wha t he wa s reaahing for . I So when I l i f ted the covers
          1



              up ,   I I ,   I s een that her legf were pa rted open .
                        Q       Was she o n her b�c k or s tomach?
                        A       On her bac k .
          6                     What did she hav� on , do you remember?
          7                     She had on j e an � horts and her underwear was
                        Q

                        A

          8   wh i t e and s he had on a T-s h i rt .
                        Q       Okay .
                                Li ke n i ght c l ot hbs , but they we ren ' t rea l l y
          9
                        A

              n i ght clothe s .
         10


                                How do you know that her unde rwear was whi te?
         11


                                They wa sn ' t t igh � short s .   They we re f i tted ,
         12             Q,


         14   but t h e bottom pa r t - - you 1 c ould s e e , l i ke , underneath
         13             A


         15   t hem .        That ' s when I loo ke¢ and s aw - -
                                                      I


                        Q       She had tho s e shbrts on when you --
                                Uh-huh .     She had j them on .   That i s when I
         16
                                                      1

                        A

         18   s tarted crying becaus e I w ! s scared .             And h e w a s l i ke ,
         17


         19   we l l 1 I ' m fixing to go on + nd g e t ready f o r wo r k .           H e had .
         20   t o b e a t wor k a t eight o ' c f ock .       · I t was a ro und mid
         21   c l o s e to . s even o ' c l oc k .   S � he �as get t i ng ready for
         22   wor k .
                                She wo ke up a nd J a s ke d he r , I s a id , do you
                             She s a i d , u�-huh . I s a i d , has anybody
              want to t a l k ?
         23

                                            I
         25   ever touched you i n a n ina�p ropriate place? S he s a id ,
         24




                                           PAGE# 110 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 114 of 148 PageID 1375




                                                                                                 25

         1    no .    I s a i d , you , sure ?    S h � s a i d , huh-uh .   I s a i d , a re
         2    you pos i tive ?  S h e wa s l i ke , yeah . I s a i d , you know i f
         3    a nYbody' t ouched y6u where � ou don ' t wan t t o be touche d ,
         4    you c a n tel l me , Uncle Jon i you know, U n c l e C l i f f , o r
         5    your mamma , your gra ndma , } r your ' brother .                I said,
         6    becaus e , you know , there i               s ome p erve rts o u t here .     If
                                                      j
         7    they touch you where you d n ' t wan t to be touched , you
                                             r
         8    can t e l l them . I f they do p ' t wan t to know , you c a n tell
         9    the pol ice o r a s chool teabher or , you know, s omebody
              tha t can g e t help or wha tele r for you .               S h e wa s l i ke , no ,
        11    not that I know o f .         You k ow wha t I ' m saying , that ' s
        10


        12    wha t s he always said .           So       s a i d , okay, but i f anybody do
        13    t r y you , you l e t me know .
        14               So a fter tha t , t r e nex t day I got ou t o f that
                                             I

        15    hous e and I ca lled and I t l d Donna , you need to watch
        16    C l i f f a round your daughter r b�cause ha i s tou ch i ng he r
        17    whe re s he don ' t need to be touched a t .               She s a i d , we ll ,
        18    how are you . going t o t e l l fue s ome me s s l i ke tha t ?             She
        19    s a i d , he mus t not be wa nti�g you , and j us t t a l k i ng cra z y
        20    s tu f f .   S o I ' m l i ke , what � i nd o f parent d o t�a t ?
        21                   So I called he r tlad 1 wh ich i s W i l l i e .         We cal l
        22    him Beavy .
                             B eavy ?
                             Uh-huh .
        23            Q

                      A

        25                    Do you know how to s pe l l tha t ?
        24

                      Q




                                        PAGE# 111 OF 144
                                         I ,
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 115 of 148 PageID 1376




                       A        B-e-v- y .
                                                                                                 26

          1

          2                     B-e-a-v-y?             I
                       A        Probabl y .       I wa s l i ke , Beavy        he s a i d ,
                       Q

          3
                                                       i                  --
               wha t ' s up ?
                                                       !
                                          s a id, I think your brother have a p rob lem .
               He was l i ke , wha t ' s up?          I s a i d , Donna i s i n t h e hospital
          4                           I

          5

          6    a nd you know t ha t .           I s a id � we got · the twins , I s ai d , but
                                                        j




          7    C l i f f be touch ing your bab � e s i n i napprop r i a te p l aces .
               And I s a i d , he probably ne eds help or s ome thing because
               I ' m not cool with i t . , And 1 we have a daugh t e r too , so I ' m
          8
                                                        I



               not cool w i th i t .           He wa s i i ke , wha t you mea n ?       I wa s
          9




               l i ke , get your daughter aw�y from him a s soon a s
        10



               pos s ible .      So the next day I seen him i n the s tore and he
        11



               had               wi th him .       He went and got her from Donna ' s .
        12
                                                           1



         14                     Did you ever see 1 him actua l l y touch he r
         13


               vag ina?
                       Q



                                I j us t seen him p eaching i n the covers .
         15
                       A

               Because the bed -- when yoo wal k i n the room , the bed was
         16

         17

         18    thi s way .       He was s i t ti ng f ight here wi th he r feet thi s
               way .       So s h e
                                So he was bas ical l y s i t ting at . the bot tom o f
         19

                       Q
               h e r feet ?
         20



                                O f her fee t , yean ,
         21

                                                               But her brothe r ' s back was
         23    towards h i s bac k .           S o even ·. i f h e was up, h e coul dn ' t s ee
        . 22           A



         24    what he was doi ng to her .
         25            Q        How o ld wa s s h e fI ga i. n ?




                                                       l
                                             PAGE# 112 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 116 of 148 PageID 1377




          1                   �ight .     They we Je eight .
                                                                                                    27

                       A

                              E ight .
                              There was a t imel when I seen him when we we re
                       Q



          4   i n Donna • s . house on Cas s a t 1 Avenue , and we wal .k �d i n the
          3            A



          5   hou s e a nd we we re - tal king tor a wh i l e and                        came out
          6   the room , a nd she . got on h i s lap .              So s he s a t on h i s l eg ·
          7   f i r s t a nd then s he s cooted ' i n the midd l e l i ke t hi s .              So I
                                                      I



          8   was l i ke , why are you , s i t t �n g on h i s lap l i ke t ha t ?              S he
          9   was l i ke , he ' s j us t my· uncle .            S o her momma got upset
              - - Donna got ups e t .        Sh e s aI i' d ,         , go t a ke   a    bath
              because you have school to�orrow .                    She s a i d , I told you
         10


         12   abou t s i t t ing on h i s l ap l i ke ' that .        Cl i f f said , o h , s he
         11


              cool .       That ' s my niece , sh� cool .           So s he c ame from
                                                      1 ·




              ta king her bath -� she c ame back up and then s he s tarted
         13


         15   bouncing on his lap, l i ke fight i n the midd l e .                      I s a id,
         14


         16   didn ' t your momma tel l you ; to go in the room?                    He was
              l i ke , she don ' t have to . go nowhe re .
         18                   Did you eve r see 1 her try to . touch h im o r
         17                                           1

                       Q

         1�   anything l i ke tha t ?
                       A      To me she was beli.ng a kid .
         21                   I t looks l i ke ba p k in January i s when they
         20



         22       i s when Donna ca l l ed th$ police and s a i d tha t
                       Q


              had told her that h e had touched her i nappropriately i n .
               the past ,      And then i t was� • t unt i l �- i t l oo ks l i ke
         23
                                         I .                          .




         25    June , the e nd o f June , June 2 7 th i s when you cal l e d the
         24
                                                          I




                                         PAGE# 113 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 117 of 148 PageID 1378



                                                                                                        28

         1    pol ice and t o l d them about t h e inappropr i ate behavior you
         2    s aw back when she was e i ght .
         3                       Now , the incide t that you are t a l king about
         4    with the pol ice , the t ic k i ng , did you ever t e l l the
              pol ic e abou t the o ther in ide nt with the bedroom?
                                           ,
         5

         6           A    Yes . That i s w� en I got beat with the gun .
         7                       You told them aBout that bac k then?
                        A        Uh-huh .        And DC         Donna said t ha t I cal l ed
                        Q
                                                       .I
                                                        �
         8

              DCF on her , which             I   didn ' t , W i l l iam did, the dad . Li ke                I

              told her , I wouldn ' t caJ, l I DCF on my wor s t e nemy because I
         9

        10

        u     don ' t l i ke to s e e people ' s kids be ing ta ke n from them .
              But s ince he brought her lame up , s aying that she put the
              pas s i on mar k on his neck, ] tha t ' s when Chi l d Protect ive
        12



              S e rvice s g o t invol ved .           S e thought I did i t , but I
        13

        14
              didn ' t .
                                 She thought you cal led DCF?
        15


                                 Uh-huh .
        16              Q

        17              A

                                 Did              , one           she di s closed a l l o f thi s ,
              did s he ever te l l you any lhing about i t ?
        18              Q



                                 No , she hasn ' t . ] I haven ' t s e en them i n a l ong
        19



              t ime .           was wor k i ng . at S             Vincent ' s Fam i l y Medicine .
        20              A

        21                  I                                 •



              Donna was a pat ient t he re l and I didn ' t know that unt i l
                                                          1




              she came i n the l ab one d y t o g e t her b lood drawn .                              She
        22


                                         1
              �as l i ke , Shann i e that ' s what they ca l l ed me .
         23
         24

                                 Shann?
                                                          I
         25             Q




                                            PAGE # 114 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 118 of 148 PageID 1379




                                 Shanni e , S-h-a-nl-n - i - e .             She was l i ke ,
                                                                                                           29

                         A

         2    Shannie , why you a in ' t tel t me that Cl i f f wa s moles ting
          1


         3    my daught e r ? I s a i d , do YfU
                                              I remember tha t phone ca l l

         4    when I ca l led you and to ld! you that C l i f f s a id that
          5                  put a pa s s i on mar k 9n h i s nec k ?              And you cursed me
                                                          I


          6   out and you told me that i � he s a i d s h e d i d i t , s he did
         7    i t , and turns out he don ' t , want your bad body a s s .
                                                          I



              sa i d , do you remembe r tha t ?
                                                                                                     I
                                                          I




          9                      She t r i ed t o avo�d a l l o f tha t .               She was l i ke ,
         8



        10    but I j us t found out becaube                               j us t been mea n to
              ever ybody a nd s he ha s n ' t been herse l f .                      I s a i d , that ' s
        12    why , because he had been bother i ng her .                            I s a i d , i f he
        11
                                                          I




        13    has been mo l e s t ing her a nd l touch i ng he r � i t ' s because she
                                                          I


        14    i s a s l eep .       Because a l o t 9 f t imes C l i f f would leave the
                                                          I


              hou s e and h e wou l d come ho$e l a te .                      I ' l l c a l l h im and
              sa y , whe re you a t ?             H e would s a y , oh , I ' m a t D ' s house .
        15


              I s a i d , why you ove r there ' s o l a t e ?                  He s a i d , I ' m j us t
        16
                                                              I
        17

              ma king s u r e s h e a l l righ t , 1 you know .                  She i s no t feel ing
        19    we l l .       S he i s s ic k .
                                         S o th�t wa s n ' t rea l l y the case . I
        18


        20    b el i eve h e would g o - - One I t ime Jacobi t o l d me , h e s·a id,
                                               I

        21    Aun t i e Shanni e .         I s a id , w1a t ?            H e s a i d , I ' m mad a t Unc le
        22    Cl{ff .         I s a i d , why ?     He s $ i d , because every t ime he
        23    come s over here he a lways                             1• n the room a nd play with
                                                              I
                                                          10
         24          , but he don ' t come in l here and play w i th me no more .
         25   I s a i d , we l l , I ' m going to 1 t a l k t o him and t e l l h im how




                                                                  I
                                                                  I

                                                     L
                                           PAGE# 115 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 119 of 148 PageID 1380



                                                                                               30

          1    you fe e l .    He said, o ka y .     !       So the next t ime he we n t to
          2    Donna ' s hous e , . he pl ayed a l g ame w i th him f i r s t and then
               s ta rted playing with                        .
                              When i s the last t ime you ta l ked to Donna ?
          3

          4

                              I t was on the phon e , but I don ' t remember --
                      Q
                                               I
          5

               i t was probably . the b eg 1nnjlng
                                           , i,    o f thi s yea r some t ime .               It
                      A

          6

          7    was around March -- probab�y Ma rch or Apr i l .
                                                     I




          8                 C l i f to n hadn ' t b r en arre s t ed yet when you
          9    t a l ked to her?
                      Q



                              No .
        11                    Bes ides t a l king � o the po l i ce on that one
        10            A



               occa s i on bac k i n Jun e , hav f you spo ken to them s i nce
                      Q

                                 _
        12

               about this case?
        ,1 4                  No .   They s a id they wa s going to get i n
        13


        15     con tact w i t h me .     I f they �eeded me , the S t a te At torney
                      A



        16     was go ing to ta l k to me .
        17                    I was ta l ki ng to his grandma that - -
                                                 j
        18                    Who s e grandma ?
        19                    C li f to n ' s granctmk           we l l , when you g o t o
                      Q



        20     s omebody a s a f r i e n d , a n d then y o u a l l o f a sudden become
                      A



        21     fami l y , but she ' s , l i ke , k ? own h i m s ince h e was a
        22     teenager .
        23                    She was . up s e t .       I s a id , Gra ndmamma , what ' s
        24     wrong ?    She s a id , I have tbI t e l l you s ome t h i ng about
        25     C l i f f, but I ' m not going t� say nothing unt i l I know he
                                                         i




                                        PAGE# 116 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 120 of 148 PageID 1381



                                                                                                                              31

              i s arres ted becaus e I don                   l         want nobody to hurt him .                          I
         2    s a i d , what he d i d ?                She s i ct ,                wi l l l e t you know when
         1

                                                                               I
                                                              1
         3    the t ime i s r i gh t .
                     Q       When was th i s ?
                             Thi s wa s , l i k e , I June -- probably June .
         4

                     A

                             Be fore or a fter 1you ca lled the police ?
         5

                     Q

                             After .              So       wasj l i ke                  because            told her
         6

                     A                                 I                           --                 I

         8    about what happ�n�d beca us� he went to her and s a i d he
         7



         9    didn ' t beat me w i th the gu� .                                When I went to her ho us e , I
              had b l a c k , red , and g reen �yes , bro ken teet h , and a l l o f
              that s tu f f .      So she s a id h k couldn ' t come b a c k to her
        10



        12    house eve! -agai n because h b - l ied - to h e r .
        11                                                     I




        13                    So found out t hat - - once he got locked u p ,
                                            i
                                   I

        14    she was l i k e , I told you ohce they catch h im, I was going
        15    to t e l l you why          I       was angr¥ with h im and why                              I   hate h im .
                 won ' t give him two s econds o f my t ime .                                             s a id , why,
                                                I
              I                                                                                   I

        17    wha t ' s wrong? S he s a i d , C l i f f mol e s ted                                             when s he
        16

                                                I
        18    wa s
        19           Q        Who ?
                     A                        .
                                              ?
        20

                     Q

        22                                                             ,       I s a id , huh?            She s a i d ,
        21.

                     A

              yea h , that is why my grand � aby i s gay .                                   So       I    was l i ke ,
              are you s e rious ?                 She s a id �             I   know i t hurt s , but s he
        25    s a i d , i t ' s t rue .           She came l to me only because s he went




                                                                   I
                                              PAGE# 117 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 121 of 148 PageID 1382




         1               ' s momma and Cl i ft o p is l i ke this , they a re t ight .
                                                                                                          32
                                                       I


         2    Anyth ing s he wa nts or he wknts , they are going to get i t
         3    for e ach o ther as i f they � a s in a r e l a t ionship .
                                                       I
         4                  She s a i d when sh r was 12 years o l d , s h e -- I
         5    ta l ke d to he r , I a s ked her �                  S he s a id , I .' m s c ared .   I
         6    c an ' t s leep .
                             I know he ' s l n j ai l r ight now, but I ' m
                                           I
         7    s cared to go down there bebaus e I don ' t know wha t i s
         8    g o i n g to happen .
         9                  Who told you tha
                                                       i

                                                       r
        10                              .
                     Q



        11                  Okay ,
                     A

                     Q
                                                           I
        12           A      I s a i d , what you 1 mea n ?                She said, I told
                                                 I

        13    when I wa s going . ove r there , I t ri e d to te l l my momma and
                          .           . :   I
        14    them and. eve rybody what   waJ  going on, bu t , you know, they
                                       -
        15    were kind o f l i ke , you ' re 1 ra z y .                  Becaus e , you know , s he
                                                           I
        16    i s k i nd o f s low .        S o s he wA s l i k.'e / I . tried to t e l l them ·•·.·
        17    that he u s ed to be bothe riJg me and they didn ' t bel i eve
        18    me .   My momma and him, theJ were best f r ie nds , s o s he was
        19    l i ke , g i r l , s top saying -- I s t op l y i ng on that boy .                     He
              a iD ' t doing nothi ng to you J
                                                           i
                            I s a i d , how did t e bother you ?                      She was l i ke ,
        20


              wel l , one day when my mommq · went to wor k , C l i f f came i n
        21


        23    my room, she s a i d , and he �oo k my virgi n i t y . I s a i d ,
        22


                                             I
        24    huh? She s a i d , I told h im j to s top , h e wouldn ' t s top .                          I
        25    s aid , real l y ?     She was l i k , , yea h .               She was l i ke - - and

                                                               I
                                                               I
                                                               I
                                                               L
                                        PAGE# 118 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 122 of 148 PageID 1383




              t h i s i s how she tal ks , a nd then I thought I wa s pregnant
                                                                                                    33


         1
         2    beca u s e I s t arted bleeding .                  Tha t ' s when I believed her
              because whe n your virginity i s ta ken , you b l eed a l it t l e .
              She was l i ke ,                as pregnant . I t r i ed to tell
                                           t hought
         3


                                            L
                                       I              I

             my momma , but she didn ' t . b e l i eve me . S he s a i d , that i s
         4



              why             told m y grandma a n d that i s the o n l y person
         5

                      I                                                                     I

              trus ted .She said, but I will go down there and ta l k to
         6


                                           !
              the people i f , you know , he don ' t come back and get me .
         7



              I s a i d , h e can ' t , he ' s i n jj a i l .
         8



                                  S o her mom trie             to make a pol i ce report for
         9

        10

        11    her .           They told her , i f yJ1u come down here , we are goi ng
              to l o c k you up be caus e you knew about i t and s he told
        13    you .           S o they said --
        12



        14                        They t old her t ey were going . t o put her in
        15    j ai l ?
                          Q



                                   Uh-huh .
                                  The y told                    tha t ?
                          A

        17

                                  No , h e r mom .      T ey said i f s he ma kes a po lice
                          Q
        18

        19    report for                      , t hey         re go i ng t o put her i n j a i l
                          A




        20    because s he knew about i t .                     I f s h e came down the re saying
              tha t , · oh, my daughter tol                    me that this man mol e s ted her,
        22    you know , a nd she didn ' t                    ay anything, but now you want
        21



              t o s ay · s ome t hi ng about i t because h e i s i n j ai l , you
              know , they were going to get he r .                        S o they told her , i f
        23



              you come down here and ma e a report for her, we are
        24

        25
                                                          I



                                              PAGE# 119 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 123 of 148 PageID 1384



                                                                                                34

         1    going to arres t you becau�e you knew about i t .
         2             Q       So what did she ,do ?
         3             A       She s topped cal � ing and made                      ma ke her
         4    own case .
         5             Q       When is the las  t ime you tal ke d to      ?
                                              7
         6             A       I talk to her o� Facebo ok every now and then .
         7             Q       What are her fe�l i ngs about Cl i fton?
         8             A       She don ' t l i ke �im .
         9             Q       Did you ever se � him s how his pen i s to · anyone
        10    or
        11             A       That ' s one o f th1e stories Donna told me at the
                                                    I


        12    j ob .       She came to my j ob a�d s h e was l i ke -- she s aid,
        13    S hann i e , I was s i ck and c 1 k f f was s t aying with me .            She
        14    s aid , I was s i c k .      She said , I wa s lay i ng on the f l oor .
        15    I had j us t took my medi cin� .              She said, and I was
        16    t hrowing up .        I   was so wea k ,      She said , C l i f f went in the
        17    bathroom and
                                                    I
                                         was co r i ng out o f t he room . S he
        18    s ai d , h e t o o k his thing ou f and was j us t cares s ing i t and
        19    as k i ng her , are you ready f or ' bi g daddy ' ?            And s he ran
              and called her mom ;            I gue s s s he was ti red o f i t .       So s he
                                                        !
        20

        21    said s he cou ldn ' t get up o f f the floor f a s t enough
        22    beca us e s he was s o wea k an4i t i red .          And s he said s he
        23    cus s ed him out and told him to leave .                He l e ft .
        24             Q       How l ong did he R ive wi th them?
        25             A       After he got o u t ! o f j a i l from what he did to




                                                        I
                                         PAGE# 120 OF 144
                                         I
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 124 of 148 PageID 1385
                                                    i

                                                    I
                                                    I
          1   me , I think he s tayed for \about , p robabl y , s i x . mon th s .
                                                                                             35




          2   don ' t know .
                                                                                                 I



          3                   Now, the inc idejt i n 2 0 0 6 , the
          4   p i s t o l -wh ipping , from the � ime he wa s arres ted unt i l the
                          .                             I
                     Q
                .
          5   e nd of h i s s entence , was he i n j a i l the whole t ime ?               Did
                                                        !
          6   he ever bond out ?
          7                   No , h e didn ' t .
          8                   So he did abou t 1a yea r , then?
                     A




          9                   Uh-huh .
                     Q




                              I s that a yes ?
                     A




                              Ye s .
         10          Q




                              Do yo u know what/ he told the pol i ce when they
         11          A

         12

              a s ked him about i t ?
                     Q

         13

                     A        Not a t a l l ,
                              You don ' t .     Have l you read any o f the police
         14



               reports or anythi ng l i ke t l a t ?
         15          Q




                         No .
         16



                              So did you                        the po l i ce or did the
         17         A




              pol ice contact you ?
         18          Q




                              Wi th the pi s to l-�h ipping?
         19
         20

                     Q        No .     In June .
                     A



                                               I
                              They contacted m r .
         21

         22          A
                              Okay .
         24          A        Because Donna as ked me i f she gave them my
         23          Q




         25    name , w i l l I s pea k , and I t old he r , yeah .
                                                I
                                                I
                                                I
                                                            I
                                                            I
                                                            l
                                         PAGE# 121 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 125 of 148 PageID 1386



                                                                                                36

                            Have you ever b e n arre s te d fot anything ?
                            Yes .
         1           Q

         2

                            . For wha t ?
                     A

         3

                            A worth l e s s che k .
                     Q

         4

                            Do you know whd ! happened with tha t ?
                     A


                                              l
         5

                            Adj udica tion w i , hhe ld ,
                     Q




                            S o you got a wi , hhold .
         6           A

                                                     I
                            Uh-huh .
         7           Q




                            Anything e l s e ?
         8           A




                                 j us t got arre ted for u nempl oyment f raud .
         9           Q

                             I                                                                  I

              got p roba t i o n with t�at .             I wa s fighting i n Augus t .
        10           A




              went to j a i l for tha t , s i , ple ba t tery .            And I thi nk
        11                                                                                I


              - - ye ah .        wa s purcha s i n        a car from Me n o f God Au to ,
        12
                            I

              a nd the tag exp i red becau e I was wa i t i ng o n my hard tag ,
        13


              a nd he wrote ove r the tag .                And the p o l i ce s a i d the tag
        14


              was tampered with , so he                  ook me to j a i l .   He thought I
        15


              did i t , but I didn ' t .
        16


                            Wha t ' s your da t           of b i rth?
        17


                             6/28/83 .
        18           Q




                            When did you p l ad to that unemp loymen t
        19           A




              compensation f raud?
        20           Q




                            That was this w e k , Monday or Tue sday .                 I 'm
        21


              not        i t was j us t recent iY •
        22           A




                            Who i s T i a Do z i r ?
        23


                             MS . GALNOR :     o-l- z - i - e - r .
        24           Q

        25




                                        PAGE# 122 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 126 of 148 PageID 1387




                                            . I
                           My s on ' s cous i n �
                                                                                                   37

          1

                           Your s on ' s cous .1 n .          So o ne , o f C l i f to n ' s fami ly
                    A
                                                ,i

              member s ?
          2         Q
                                                 I

                           No .
          3
                                                 I
          4         A                            I.

                           Okay .
                            I t ' s my younges � son .
          5         Q



                           How i s he a cou i n - - or how i s she a cous i n ?
          6         A


                                            ,
                           M y three-year-o � d i s her cous i n . I have a
          7         Q

                    A

              b ab y by her uncle .
          8
                                                     I
                                                     I
                           So you have how ban y kids ?
          9

         10

                           Four .    I have tJo w i th C l i f to n .
                    Q

         11

                           O kay .   But four lkids tota l ?
                    A

         12

         13                Total .
                    Q

                    A

         14                                I
                           Why do you have f n i n j unct ion against her?
                            She put i t on � el,             Her uncle wa s s taying
                    Q

         15         A

                   we l l , he was s taying with me a t the t ime and then he
                                              I
         16

         17   l e ft to go be with another l woman . He took a l l h i s s tu f f
         18   to T i a ' s house .   I s ent my l s on over there to give him the
        19    r e s t of hi s s tuf f , and s he j threw it bac k down the s tairs
        20    and cus s ed my son out .       I a s ked her why she did that .
        21    She was l i ke , he don ' t s ta z with me .               And s he cal l ed me
        22    a l l kinds o f name s .    I tol� her - - I wa s l i ke , we l l , go
        23    ahead o n , you know, becaus� we stay i n d i f ferent ·
                                                ' i

                                            I
         24   buildings . She wa s cu s s inw and doi ng a l l ki nds o f
         25   cus s i ng and . fus s i ng at me , i cal l i ng me a t my name and was
                                                         I
                                                         I


                                     PAGE# 123 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 127 of 148 PageID 1388



                                                                                                          38

              l i ke , ca l l your thousands of s i s ters becaus e I know that
              is wha t you are goi ng to do anywa y , but whe n I catch you ,
         1

         2

         3                  g            h                r                                           i ke
                                                                                                a
              :h:: e :::�        :: : ::1::: m:t:m-: e ::::: /::� · m : . w :n:                              ,
              then my mom came out there and my mom cal led my s is ters
         4
                                                                     a

              and they came out there .                         nd s o my o l de s t s i s te r cal l ed
         5



              and a s ked -- s he wa s l i ke , rwhat ' s wrong , what ' s g o i ng on
         6

         7

         8                                                      a                          g          h


              :::: ::: e � n\m:0                                    :Ys ::::: :::�: ::: :      :::e � ::

              s tay with s omebody e l s e .                  lShe    said
         9                                   : : • :: :   \J:


                                We are not ta l k ' ng about C l i f ton here .                     We are
        10

        11
        12    tal king about . --
                     Q



        13                      No .     We are tal i ng about T i a .
        14
                     A

                                Okay .
        15                      So they got i nto a fight .                   She came down s t a i r s
                     Q



        16    t a l ki ng about how s he got ' nto a f i gh�, but she never h i t
                     A



        17    me a t a l l .      S he g o t j umped by pretty much the apartment
        18    complex , b u t s h e j us t s a id w e d i d i t becau s e s he knew our
        19    name s .
                                Wha t about your s i s t e r                   , has s he eve r
              been arres ted ?
        20           Q

        21

                                No .
        23                      What about Kenya ?
        22           A




        24                      Uh-huh .
                     Q



        25                      She has ?
                     A

                     Q




                                               PAGE# 124 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 128 of 148 PageID 1389



                                                                                                 39

                    A        Uh-huh ,
                             I s that . a yes ? •
         1



                             Yes .
         2          Q



                             Wha t ha s she bee               a r re s ted for ?
         3          A



                             Che c k s .                r.
         4          Q



                             Chec ks .        I s she 1 n pri son?
         5          A



                             No .
         6          Q



                             No .    I don ' t know why . he r name s o unds rea l ly
         7          A



         9    fami l i ar to me .
         8          Q



        10                   What kind o f car did C l i f ton drive bac k when
        11              s a i d that he did t h i ?
        12                   An Acura Legend .
        13                   Do you remembe r                   wha t did you s a y ?
                    A



        14                   Acura Legend .
                    Q



        15                   Acu ra Legend .            ,ad you e v e r known C l i f to n and
                    A



        16               t o f i ght a t a l l ?
                    Q



        17                   No , ma ' am .
        18                   No .    Who i s Mar             But l e r ?
                    A



        19                   Gra ndma .
                    Q



                             Of?
                    A



        21                   C l i ft o n                                    real l y .
        20          Q



                                                              wha t J
                    A



                             That ' s he r re al g ra ndma .
       , 22         Q



                             Okay . .       Have the         eve r told you that they saw
        23          A



        25    C l i fton a nd                 fight ?
        24          Q




                                            PAGE# 125 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 129 of 148 PageID 1390



                                                                                                 40

                              No .
                               Did C l i fton try �o d i s c ip l i n e           ?
          1             A




                        A     No .      Tha t ' s the �h ing , I was never a round him
          2             Q



              t ha t much when he was a rouhd Donna ' s house .                 He a l ways
          3



              l e ft me at home .           I a s ked � im, when are you going to let
          4



              me mee t the fami l y ?          I don � t know -- this was a ft e r four
          5



              yea r s .     He wa s l i ke , becau f e I don ' t know how long we are
          6



              going to be toge the r .            We have done be�n together for
          7



               four years now, you don ' t �hink i t ' s t ime?
          8



         10                    Did                             tes t i fy i n the 2 0 0 6
          9



         11   cas e ?
                        Q



                               No .
                               Did s he have any � hi�g to d o wi th that cas e ?
         12             A




         14                    No .     She j us t de Ibided to ta l k thi s year
         13             Q



         15   because I told Gra ndma tha t                   Mary that he was in j a il
                        A
                                                      I




         16    for             .      So now that h� i s i n there for he r , she
         17   � o u l d ta l k .      And t he same thing that . - - I a s ked              , I
         18   s a i d , why you neve r told m� ? She s a id , because he wa s
                                                 I
         19   g o i ng t o k i l l me and my s o � at the t ime because we wa s
         20    s t a y i ng w i th him .     I s a i d , ! i f he ki l l s u s , he i s go ing to
         21    go t o my momma ' s hous e and l ki l l eve rybody i n the re ,              So
                                                      I


         22                 s a id the same thin� .         I s a i d , why didn ' t you t e l l
                                                      I



         23    anybody ?       She s a i d , becaus$ he told me h e was going to
         24    k i l l my fami l y and , you kn f w , he was m y momma ' s bes t
         25    friend a n d t h e y b e togethet almo s t every day , s o he




                                           PAGE# 126 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 130 of 148 PageID 1391



                                                                                                  41

          1    threatened me .
                             Do you know i f            he kids ,               or anyone ,
               were a l l owed to watch any ki nd o f s exual s tu f f on TV a t
          2          Q




          4    any t ime ?
          3



                     A       No .     One n i ght        went over there to Donna ' s
               hou s e whe n she s tayed on 9. th -- i t wa s 9 t h and Detroit i n
          5
                                                    l
               the Paxton area .           I went dve r there o n e n i ght and C l i f f
          6



               was there .     And Breon Gra                    t h e o lde s t boy , w a s i n the
          7



               room and C l i f f was i n the room with h im .                  They wa s
          8



               watch i n g a porn - - a f l i c · - - a porno .
          9



                             W e re                     kids around?
        10


                             They were a s lee .            Breon was g rown , s o he was
        1 1.         Q




        13     wa tch�ng i t with him . •           I
        12           A


                             How old was Bre bn ?
                             Probabl y 1 4 --
                                                    i 3,    14 .
        14           Q

                                                    t
                     A

                          Did he ever bri g g i r l s i n the house and have
        15

                                                r
               sex with g i r l s or a nyth i n · l i ke tha t tha t you a re awa re ·
        16           Q




               of?
        17


                             On one occa s i on                      don ' t know i f they were
        18
                     A                                  I -- I

               grown or -- but on one o c , a s ion I had -- when we broke
        19


               up
        20



                             You a re tal king about C l i fton ?
        21


                             Cl i fton .     He s a � d he wanted t o spend s ome t ime
        22           Q

                     A

               with me a nd the . kids , so we came to h i s hous e .
        23


                                           . .I g
                             Who was h e 1 1v1
        24

        25           Q
                                                            .
                                                           w 1 th?




                                         PAGE# 127 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 131 of 148 PageID 1392




                       A          By hims e l f on F ede r i c ksburg .         So we went over
                                                                                                     42




              there becaus e he wanted mJ to twi s t h i s h a i r up .                     So ·I
         1



              s a i d , okay .             But the doorJe l l rung and he went out the
         2



         4    door .           So i t wa s going o n 3 0 minute s and he wa s s t i l l out
         3



              there .  So I looked out t e window and h e was t a l king to
                                        j
              a femal e . So I opened the door and I as ked him, we l l ,
         5



         7    how long are you planning on s t ay i ng out h e r e ?                     He s a i d ,
         6



              I got · to go .               So the g i r l stayed outs ide , and Donna at
              the t ime , she was s it t ing o n the couch beca u s e she was
         8

         9
              sick .       She was j us t layin                there .
                           ·
        10

        11                        S o when I - - I dhought s ometh ing was wrong
        12    real l y .         So    I    went and g r � bbed one o f h i s guns becaus e          I

        13    didn ' t hear nothing .                   I pee ked out the wi ndow and when I
              saw that h e was o kay, I pjt i t bac k � S o whe n he came
              ins ide , he told the g i r l � o come ins ide too . I s a id, Why
        14

        15
        16    wou l d you do tha t ?               I s a i d , you know I am here .        I s ti l l
        17    ca re about you .                I said,         s t i l l have feeli. ngs for you .
                                                    .      I     .                 .
        18    Why would you do that ?                     Y u bring another fema l e i n my
        19    presence .              He s aid, we a i ' t together , s o what .
                                  I told the g i r l           I s aid, you know what ?       He
        21    a i n ' t no good man , I s a i d j _ bec�us e when I was s ix month s '
        20



        22    pregnant wi t h my daughter ,l h e g ave me chlamydia . So she
        23    s a i d , huh ?
                            I s ai d , here • 1 the paperwork ri ght here , and
                                       _
              I s howed her . the p ape rworR . _So the g i r l l o o ked at the
        25    papeiwork, threw it down , a nd wal ked away, and then he




                                               PAGE# 128 OF 144
                                                       1,
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 132 of 148 PageID 1393




         1    j umped on me again .
                                                                                                   43




                              Do you know i f �reon ever brought a ny girls i n
              the house t o have s ex wi t�?
         2               Q




                              No .   But I remember this one t ime whe n he was
         3



         5    t a l k i ng to a younger g i r l � - I forgot her name , but she
                                                        I
         4               A



              was o n l y 1 4 years o ld .            I a s ked he r , I s ai d , how o l d dld
              he te l l you he was ?          He sa,id he was 2 1 .                s a i d , you
          6
                                                        1

                                                                               I

              . don ' t thin k that ' s s t i l l tbo old for you t o t a l k t o
         7


              someone that is 2 1 ?    She wa s l i ke , ye s , ma ' am . I said ,
         8


              you don ' t have to ' ye s , ma 1 ' am ' me . I s a i d , so what ' s
          9
                                             I

              go i ng on w i th you and him r ecause I ' m h i s babies ' momma ?
        10
                                                        I



              She was l i ke , wel l , he come get me . I s pend the nigh t
        11


              around t he re .       We have s ex ; a l o t and h e s e nds me home .
        12
                                                        1
        13                                                                                         I

              s a i d , does h e g ive you mon y ? She s a i d , no . I s a i d , are
                                              j
              you s t i l l i n schoo l ? She � a i d , no . I s a i d , did he ever
        14

                                                                .
        15

              convi nce you to go back to: school and ma ke some t h i ng o f
                                                        I. .               .
              your s e l f?    S h e s a i d , no .     k e j u s t come s a nd g e t s me .
        16


              When I c a l l him, he come s � nd we j us t h ave sex a l l the
        17



               t ime .
         18


                              When I went i n Jhere I not iced s ome l i t t l e
         19


                   s h e w a s a pe t i t e g i r l . I S h e was rea l l y sma l l - framed .
        20


               So h e was havi ng sex -- s hb had underwea r there and,
        21



               l i ke , two o r · •three out f i t s �
        22


                              Did you ever a s s�ul t him w i th · a gun?
        23



                              No .
         24              Q

         25              A




                                                            I
                                                        _l ______
                                        PAGE# 129 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 133 of 148 PageID 1394




                               I have to a s k t �ese ques t ions .
                                                                                       44

         1

                               I know .
                     Q



                           Was t here eve r � t ime that he wa s upset that
         2           A




        M4    you didn ' t go to j a i l ?
         3           Q



                     A         I neve r went t o ! j ai l for him .
                           No , I know that  Did he ever ca l l - the p o l i ce
         5

                                          l
              and he thin ks tha t you s hould have gone to j a i l , but you
         6           Q



              didn ' t ?
         7



                               Yeah , he thought s o .
         8



                               Do you rememb e r wha t that inc i de n t wa s about?
         9           A



                           We wa s a rguing � nd he told me that he wa s
        10           Q
                                                         1



              go i ng to s hoot me o r s ome � h ing . · I t o l d him t ha t he
        11           A



              better s top ma king threat i to me , beca u s e I know peop l e
        12                 '
                                                         I




              tha t have guns j us t l i ke you ' ve got guns .       So he thought
        13



              I wa s going to get arres tJd , but the pol ice told us j u s t
        14



              to s tay away from each ot�er f o r a whi l e and calm down .
        15


              That i s how people i n r e l � t ions h ips do , they get i n
        16


              fights and then come and �rea k up a nd get b a c k togethe r .
        17
                                                     I
        18

                           But he wen t dowhtown and got an i n j unc t ion
              tried to g e t an inj unc tio� aga i n s t me , but the j udge
        19



              den ie d the i n j unc tion bec r u s e he neve r p roduced -- he had
        20



              a p e rmi t -- he des c ribed     e as a s ix-foot-some thing ,
        21

                                              r
              2 0 0 - s ome thing-pound fema le . And the j udge wa s l oo king at
        22


              h im a nd loo king at me , s a � ing, you de s c r ibed this woman ' s
        23



              ident ity wrong a nd then you expect for me to g ive you an
        24

                                                 I
        25




                                       . PAGE# 130 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 134 of 148 PageID 1395



                                                                                                   45

         1     i n j unction again s t a woman that i s ha l f you r s i z e .              I was
         2     abo u t 1 2 5 pounds then .
                               Were you guys evtr engaged?
                               Nope .    But he told Donna -- the l a s t
         3             Q



               conve rsa t i on I had wi th Do na , we was ta l ki n g about
         4             A



               everything that we could rlmember from me mee t i ng her up
         5.



         7     unt i l the t ime he did what he did to h e r daughter .                     She
         6



         8     wa s l i ke , he did t e l l me he did want t o ma r ry you
         9    . February 1 4 , 2 0 0 5 .     On the 1 3 t h , that ' s when the i n cident
        10     happened whe n he beat me because o f wha t he s a i d about
        11                 .
                         So we never got mlarried . Eve rythi ng that
        12     happe ned between me and h t , Donna kno·w s abou t .
        13                      Do you t h i n k D o n a kn�w about t h i s and never
        14    . s a i d anyt h i n g ?
                                                        I
                       Q



        15             A        I think she did .i
                               Why do you thi n � s he would do t ha t ?
        17                     She wanted him for herse l f .
                       Q
                                         .              I
        18                     What do you mea1?
                       A



        19                     When I first me               her she told me , you have a
                       Q



        20     good ma n .       I s a i d , huh?           he wa s l i ke , b e fo re you got in
                       A



        21     the p i c ture , I could ca l l C l i f f and a s k h i m t o b r i ng me
        22     some th i n g and even though I s tay o ff o f Jamme s Road and
        23     he s tay i n Sherwood, h e w - u ld get on t h e mo to rcycle and
        24     bring me wha tever I want .                   I j us t w i s h I had a man l i ke
        25     him.        I said, w e l l , go gett your own man because tha t one
                                                    I



                                         PAGE# 131 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 135 of 148 PageID 1396



                                                                                        46

          1   is mine .    S he was l i ke , we l l , I don ' t want a man . We . are
                                                I
         2    j us t goi ng to keep being f l iends a s w e are . I was l i ke ,
         3    we l l , okay .     So I rea l l y hone s t l y b e l i eved she wanted
         4    him .
         5                    So you thin k · she l wanted to be with C l ifton ?
          6
                       Q
                       A      She did .
         7             Q      Do you think the� were ever togethe r ?
          8            A      Probabl y so .    Be�ause he wou ld come . around
          9   somet ime s         I wou ld be in 1 front and h im, her, and , l i ke ,
        10    h e r fri ends , they would al t be i n h e r room and c lose the
        11    door .       H e would be laying Qn her bed and s he wou ld be
        12    clean ing out his ears and just romancing h im for s ome
        13    reason .
        14                    MS . GALNOR :    Okay .     I don ' t have any other
                       que st ions. .
         16
        15
                              MS . H IXON :    You have a right to do what i s
        17             ca l l ed read or wa ive .   I   Did you have your depos ition
         18            t a ken last t ime ?
         19                   You can bas i ca l l y read, which mos t peop l e l i ke
        20             to waive .       She types everyth ing up and you have to
                       ma ke an appo intment amd go to her o f fice and read
         22
         21
                                                I
                       i t . You can ' t change : anything . She ce rt i fies under
         23            oath that she has acchlrat e l y transcr ibed eve rything
                       you s a y .           I

         25
         24

                              Do you wan t t o w�ive
                                                i ' ?.



                                                   I
                                                  1
                                        PAGE# 132 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 136 of 148 PageID 1397



                                                                                                               47

                              THE WITNE S S :         E�eryt hing I s a id , I bel ieve .
         2             I ' l l wa ive .
          1



          3                    ( Wi tne s s excused . )
                                                     I
          4                    ( Depos i t io n con tj l uded a t 3 : 4 0 p . m . )
          5
          6    ( 3 : 41 p.m. )
                                                                  ,_




              having been produced and � i r s t duly sworn a s a w i tness ,
          7                                       JOSE RUI Z ,
          8
          9   t e s t i fied a s fol l ows :
                            THE WITNE S S :
                                            D I RECT1 EXAM I NAT ION
        10



        12    BY MS . GALNOR :
        11



        13                    Could you pleas� t e l l me your name .
                                                              I




        14                    Jose Ru i z .
                       Q
                                                  .


         15                   And you are w i t h JSO?
                       A
                                                          l

         16                   Yes , ma ' am .
                       Q
                                                          1




       . 17                   How long?
                       A




         18                   Three and a ha�f year s .
                       Q



         19            Q      We are here t otjay i n the State o f Florida
                       A




         20   versus C l i f ton Brooks .             �ou probabl y know i t as the CCR
         21   numb e r , wh i c h is 2 0 1 2 - 9 9 �0 .                I t ' s my u nde r s t and i ng tha t
         22   you re sponded to the i n i t i a l cal l bac k on January 4 ,
                                                      I




         23   2012 .
         24                    I did .
         25                    I s that your o�ly involveme n t i n this case ?
                       A

                       Q




                                          PAGE# 133 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 137 of 148 PageID 1398




         1             A     Yes , ma ' am .
                                                                                                48




         2             Q     And you wrot e t e General O f fe n s e Repo r t ?
         3             A     Yes , I did .        ]
         4             Q     After wr i t i ng tHat , you forwarded t h e ca s e t o
         5    s ex crime s ?
         6             A     Ye s , ma ' am .
         7             Q     That was for f u ther i nve s t i g a t i o n o n the ir
         8    part ?
         9             A     Yes , i t was .      j'
        10             Q     I t looks l i ke o            Wednesda y , January 4 , 2 0 1 2 ,
        11    a t about 2 2 0 8 , you were dis patched to 3 9 3 9 MacGrego r ,
        12    M-a - c-G- r-e-g-o- r , Drive i n re ference t o a l ewd act upon
              a chi l d .    Do you have a p etty good memor y o f t a k in g this
                                            ,
              repo rt ? .
        13



                             Yes , ma ' am .
        14
        15             A

                             Te l l me who the firs t pe rson you had contact
        17    w i th was .
        16             Q




        18             A     Whe n I g o t ther             I bel ieve he r mother was
              t he re with her a nd the vi 9 t irn in this cas e . And
                                                       I




              bas i ca l ly t h e y s a id that tlhere was l ewd acts upon her as
        19

        20

              a chi l d rnul t i�le time s thjoughout her -- qui t e a few
              y e a rs with her -- I be l i e i e i t was he r uncle a t the time .
        21


                             Did she eve r t e i l you exact l y wha t the de ta i l s
        22

        23
        24

        25
              of the s ex a c t s were?
                       Q



                       A
                                                  l
                             S he didn ' t go i , to spec i f i c deta i l s .       She j us t




                                       PAGE# 134 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 138 of 148 PageID 1399




         1    s a i d tha t ' h e did i napproprlate s tu f f t o her .
                                                                                              49




         2               Q       Wha t wa s her dem,e anor l i ke when you tal ked to
         3    her?
                         A       She wa s crying .      I t looked l i ke she had j us t
         5    come out and told her mom                bout eve rythi ng t ha t had
         4



         6    happened .          She wa s pre t t y � i s t raught when she wa s t e l l ing
         7    me wha t was going on .
         8               Q       What was the �om ' s demeanor ?
         9               A       She was the s ame .      She wa s a ngry and upset .
        10               Q       Did the .vic tim ever t e l l you why she wai ted s o
        11    l ong to d i s close ?
        12               A       Not that I rememib er .
                         Q       Did s he g ive yoj the years or the ages that
        14    thi s occur red during?
        13


        15               A       I bel i eve s he did, but I don ' t r emembe r i f I
        16    put . i � i n my repo r t o r not .
                         Q       I s ee i n your report i t s ays , "The vi ctim
        18    s a i d , ' My uncle wou l d s how me h i s p en i s a nd s odom i z e
        17


        19    me ' . "       I s t ha t exac t l y       s h'e s a i d ?
        20               A       Yes , ma ' am .
        21               Q       She used the.           " s odomi ze " ?
        22               A       Yes , ma ' am .
                         Q       I gue s s , accord ' n.9 to y'o ur repo r t , i t s a id ,
        24    " She said t he s ubj ect w a s l iv i ng w i th them betwe e n 2 0 0 6
        23


        25    a nd 2 0 0 9 . "




                                           PAGE# 135 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 139 of 148 PageID 1400



                                                                                       50

                    A      Correct .
                           But she didn ' t n�ce s s ar i l y t e l l you that
         1


                                             I
         3    that ' s whe n t he abus e occutred? I gue s s I am a l it t l e
         2          Q




         4    con fused because i t. s a i d ,       l sh�
                                                         1
                                                             had been s odomi zed by her
              u nc l e on and o f f fo r about 1 three years . "        And then the
                                                     I

         6    next s e ntence s ays , " The sGb j ect was l iv i ng wi t h t hem
         5



              b�tween 2 0 0 6 and 2 0 0 9 . "
                            I t was probab l y !worded i mproperl y , but that ' s
         7

                    A

              t he t ime frame that she b �l i eved that that was happeni ng .
         8



                            But he no longerl l ived there at the t ime this
         9



              report was made ?
        10          Q



                           Correct .
        11



                            Have you ever h f ct any contact w i t h the
        12          A



        14    suspec t ?
        13          Q



                            I did not .
                            Have you ever h?d any further contact with the
        15          A




        17    victim?
        16           Q




                     A      No , I didn ' t .
                           Have you eve r hkd ani contact w i t h the
        18

                                           !
        20    vict im ' s mother?
        19           Q



                            No , I didn ' t
                            Have you ever �esponded to any c a l l s to that
        21           A



        23    hous e s i nce tha t · t ime ?
        22           q



                            No , ma ' am .
                            You ' ve had no fiurther i nvolvement i n t h i s
        24           A

        25           Q




                                                 I


                                       PAGE# 136 OF 144
                                                 I
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 140 of 148 PageID 1401



                                                                                        51

         1     cas e ?
                                 I have not .
                                 MS . GALNOR :     I �ave no further que s t ions for
         2               A



                         you .
         .3



                                 MS . H IXON :    Rea 9 or wa ive ?
         4



                                 THE W ITNESS :     I ' l l waive .
         5



                                 (Witness excused . )
         6



                                 ( Depo s i t ion co ncl uded at 3 : 4 3 p . m . )
         7

         8

         9
        10

        11

        12

        13

        14

        15
        16

        17
        18
        19

        20

        21

        22

        2 .3

        24

        25




                                          PAGE# 137 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 141 of 148 PageID 1402


                                                                                             52

        1                     C E R T I F I C !A T E          O F    O A T H
        2
        3    STATE O F FLORI DA
        4    COUNTY O F DUVAL
        5                                              i


                   I , Heather K i n g , Court l Repo r t e r , No t a r y P ub l i c , S ta t e
                                                       I
                                                       I



             o f F l o r i da , ce r t i f y t h a t S¥,ANTELL HARRI S a n d JOSE RUI Z
        6



             pe rsona l ly a ppeared b e fore , me o n Decemb e r 1 3 , 2 0 1 2 a n d
        7



        9    w e r e · d u l y sworn .
        8



       10
       11    S i gn e d t h i s 2nd day o f · Janbary 2 0 1 3 .
       12
       13
       14
       15
       16
                                  He     e r King /
       17                         Nota ry Pub l i c
                                  M y comm i s s io� No . EE2 1 33 4 3
       18                         Exp i re s July 1 2 , 2 0 1 6
                                  Bonded Thr u Notary Pub l ic Unde rw r i t e rs
       19
       20
                                                   I




       21
       22
       23
       24
       25




                                                 ! '

                                         PAGE# 138 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 142 of 148 PageID 1403



                                                                                                  53

        1                               C E R T         r: F I C A T E


        3    STATE OF FLORI DA
        2



        4    COUNTY O F DUVAL


                         Heathe r King. , Court1 Repo r t e r , do h e reby c e r t i f y
        5

                   I,

             t h a t I was a u thori zed t o a p d did s t enograph ical l y report
        6
                                                        I



             the d�pos i t ions o f SHANTEL� HARRIS and JOSE RUI Z ; that a .
        7



             review o f t h e . t rans c r ip t w;a s n o t reques te d ; and t h a t the
        8



             foregoing trans c r i pt , pag�s 1 through 5 1 , is a t rue
        9

       10
       11    record of my s tenog raph i c !notes .
       12          I    fu rther c e rt i f y tha�          I   am not a r e l a t ive , emp loyee ,
       13    a t to rney o r counse l · o f any o f the part i e s , nor am I a
       14    r e l a t ive o r e mployee o f a � y o f the parti e s ' a t t o rney o r
       15    couns e l connected w i t h th � a c t i on , n o r am I financ i a l l y
       16    i nt e r e s ted in t h e a c t i on . ;
       17
       18          DATED t h i s 2 nd day o f 1 Janua ry 2 0 1 3 .
       19
       20

                                                                      Repor t e r
       21
       22
       23
       24
       25




                                         PAGE# 139 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 143 of 148 PageID 1404
            Jul 1 8 2014 1 :40 PM
       :F:fll119:J(i40,�,:�l)�.' E(e�t'Ql!i�n/(y ·,1:.t(!i!:d.Mt.(8:"4Q14 · Q�;�7;�� .i'.\M



                                                                                         '"::i:.N 1 fIE· :Ct�ca :t:T. :.cQtiR1r- ·Of. tiiEI
                                                                                                  1

                                                                                         · rrovitTa dtf1:rto x:�t: c:i::n�u x tr... ±:it
                                                                                         'AN'D FOil  ouvn cotn.:i:r.i:,. FLOR.:t :011.
       :-ct;:tr.lON : Mc:Naiti             amott.$:�:
                   :_I;l¢.:f/Jf!1<'ri�r1:t: /1:\Pt:i:e_ll�•i'l't ,-

                                                                                        :�eui;� · t:a,$ :.- ·1_:6--�: o .1� ..��:� .8 $�
                                                                                         f5 t: :be� Car! e. · No •. :itit3- .fb!t3·
       ' S'l'tA'rll!.l ' i()P, · nOJtXDAr

                   )�pp.� l.3.: �-�>-
           �����--.....-..............,,..,.,. .          ,--,-
                                                              , ....
                                                                 . .......
                                                                      .




                                  :$µ,��� DESl:GNA� ·:CON .�O :COURT 'MP.ORTJ!lR
                                                    ..�:• l)��q.��S!t!��l.2. .m.�·
                   "1'.h� - Ap_p.�\Uiht:, · Jii�:r.stian:t: "to tM: .July : ] 8 ' , :2Q ].:4 � : o:rdEfr ' of the
       .                             .
         Fi.r·s -i:: -b�·st.�!fc: t; dour:.t. : of )\ppeal. {iiltt�.�-ri�cfL. _Jf'ir:s� Di .s·,t:#i�.t

       · Actrrdnis·1t:r:ati\'le · or!'.htt 09:·-- l-� .a:mf :Se:atb:,:n: 2 7· , . S:l .(i)· tt) ,: Fl Gi.;c icla.

       · �1-'!-e/�\:l:t: �.s:r · he:�:ia�y ,1�) s:i:gJ\�t;_e� _th_e, Q;f.tI: �·�:Ei 1 - �¢u rt tl�P��t�t::�
                                               i
                                                                                                                                 �ci

       :
                                          '?'��-*-
           't::t:an��J:i!b.er th1 . - d�J1Q.$;i: t.;fq:p �. Pi fh;

                                               ...-:...........-...�---· ·c.lr�:
                          :�� ir,:�h Otr�dbet' 31-, :2-0 1.2 .
                                                                              1 -0�
                                                                                                               · an.i:'J :

                                                                                        ·w1:1::t l . a :s the: :dep<,� itiot1: of
                                                                                                fower-11· "'......,---·""'-
                                                                                                                       1




       : sha:n te.11. tiiur.ad_s: -t�:k,,e� D.e1�:¢"1itb:Ei:.(fe, :.�: o·;( •. ; · :�r,id ·< . .ii:�. : t.h.-a ·G: i.,tgf1\$. ;l.
       . a:rid two -eopf.e.s . . o:f ·s aid p r�c�·e·dln.g:s :wfth : the Ci'e rk <ff -¢:a urt ., bu val
                                                             ��.'�o�,......-..-.:.
                                                                                  ....,...........,.,:




       : co'ifri ty,      :r:i.oZ"ida:,;
                    f t1:r-sua :pt to );:�.e             Jri-�:�i            tflst:r i;qt. Co1,.1 .r:t ·of : �p:peal: i s· ord� r. , ··the.
       : .�pp·a l -.ta,n:t: : di re t::t- s the·· ·c :Lrcui:t Cli.rr k to· : p :re.p�xe. omn: :ele-c.i t:.rr.,rrd-c.                      �ndi
           t:�q h:�t� ��P.�•il1:S · :o� -�: �upp:l:��ll!r1:�c1 i :��:�.¢.t.tl. ·l;.)r:i . fq?pe:a1. t"¢· �.n ci\,td.:e tJie!:




                                                                    PAGE # 140 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 144 of 148 PageID 1405




                 :l . • : A, ·-tta.nscr:;i;'.(?t o:f the :a(,-"1,Pos.itions ,' ·of. ,L'oxet,t� Aietxancie: r.· atH:i'
       l�T.1:1: ·'· Gi?;r i, :M,¢:ta�t��'I:, · ' l;:i!i�fit� ' 9�,l'..ib9�;t � 1, : ! :::ro 1,f a:t;i · Wl:;)ll :a·s blty.;;;
                                       ·
       :�:te)?o:til i:t i on Qi;' .$h/::l:qt;;�t): :.tt<1');.t::�j,.� ,t.:9')��:n... P�.��n)Pi�,i;• .:'4�: ., �.Q:J,J.�
                       :2:; :A :c'?.P.¥' · of. · the�:� df.r�.ct.i o.ns:.

                 ::�+: l;S?J:�,� .PJ,;:� p�)��: .�Ji�: .:�q;tj4zjn;c;I �t�: :�:.i.::¢ ¢:t:,t.¢:n•i1t•: �N:P.P. V#��·r:\ tal · Re:c t;±d
       :on AJ2.t,eai. :to . f-I.�rt. •. : J:an $ . . Jfhma:i�r-., .t.i�:rk, Fli:s t Dks ��:il.�t. Coµl'/t .9:t'.­
       :�ppe:al.., to.oo           biayton . ;o r:. ,. Ta1:i ·a11�sst:Ei , ]'.L                s.2:J sii.;..1,:rs·so-1 .m:nd    s: e.r11e:
       :�a.rd: · .C<")pi-eis t<:i Hon , iJ:iawe.:l� ·Je· : :s and{,: .ltl�:t orne,y: Gs1�-si :li'al , : The ·
                                                  :             6 '          :
           .
       :c�:pi"l!:¢1:  ). Tal,lc!'l: h ass�e.:r FL , 32�$1 9�i. � o r. and �o.n. . N� W!l:�:¥ ' iL : [;iani: e' 1 . e i
                                                 '                               '                               '




        ?J.�:f:!�J-i:: n�t�:��c!� ;,: �$:cpµd JU/fltf :la:t · Pi,r aµ1:t , La·an Colin:� ¥ eourthct�e.fe 1
       .Jo:t ·S·o:1:.r tih :tokm�:o.,e �Jt·.r.:·��t i :e:l,;l,it'.:t; : ·� QL ta,l);�r���:� �$. , :r,t ·�:a:3. 0l,: �,n,. :��·
       :��:f�t::� : �l.l.tj:µ�� J��i · i9:t�i :in ac:9.oro ·w1:trl the �;>'rder <:>.f ths . :ir:f rst.
       : o·i s :t:r :tct. :ci::i:u rt. . :.o:f ..A;ppeai .




                                                             PAGE# 141 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 145 of 148 PageID 1406




                 : ;c��1Jta:�Y ¢1$�'.�t : :r� th�:� -�- t:l�!i? tjQ.cµmElrl� . ��!!!: -P:t:9�� -cl�c:I v� :� :�:P�.
       · r1(Yi:'idt�: • co·u:t1ti!!I: :E·�;ti- i.fr�':i:{ :l?o.rt. � 1 . :to t;h� •Clerk .:o f cou.itr:t ,. S O.l .ij : Adam$:

       · st. :. � :·J:�;¢�� �r.iY:iX!-�,1 J�L- :�2:2Q�"'!�:�Q�/ t·O �#;:i;Sl'l-$• -���_g $: : R$�$;i :qf:flce o f:

       :t,b11i At 1ttir:l'lt=i;Y : $SrH'fl711'fi l·    ila �t:   : l:!':K,.i �napp Li.:h.l� l'l'l);'.f::b:n:- id� l :e!l:J� J. , :O O�U. :t!!ll'                                                    ,:rul �:�·
       .F:e:r9iis6h ·:o f O;fficlaL                   ��po:t {t�:r: s :1' ihe· lK)d,                                               a!)y      us Ma:i.i ,.                               '.t i:> :

       •�ppat ia.n6.,. b,JJ. 1!:ton- M6N�il.                       !a.i.fo:-i>-�-¥s i ti'oc                          :W · 1::�.e,�:1<1:t:                       :t1aY.<'-               coti:b-e�.ti on� l.

       · :tn:.:rd:.t ut1:o.n . P.Qn��,         ·a.r-iEf�-    )I    ·s Rwy ,27: • W ,                                 • t-'fawo.,             it• j:i:'b6G-•S1 �:a t                                 on·

       •t;hHi:- .ciL& t�:t, �41: Y· 18 � •2•!3 .l:tL



                                                                            •NANCY· -�.•:, · Di¼.MU:H,S
                                                                            : l?!:,J'.81.,l•G PE-FENDER
                                                                            : e.;i�o110 po:_t rrc.J:A 1 :c .� ��t�i�                          �.




                                                                            :l s / . .Jc:,� ii'ije1 . •A •• ·�a0ei•�
                                                                            }1.� . .A: . :�- . . . .                                                                                .
                                                                               Assi'st::a nt: · Ptd�l :t e · Def-e.nde.:t'I.
                                                                                \ll'i(.1ri-cl� ' Stur No.. •7 �:s2'si ' '
                                                                           · : li: ti1('.)� •·c�ur>:t:'{ o�urth�)mlfl!
                                                                             :JQ � . S a\(th, J1:onto� �tre�-�-1 :. �•i,q..:t;;.e: ·-d .QJ.
                                                                             · �al i�1n:�����j. Jr�: -�� � Q.�.
                                                                             . .a:s-0- �m� '"' -e. s. 2:9 . . ..... . ... .
                                                                             . j_:(t,j anna• •.mia:u11n:!:trfl�.d:2 •• •cl:1>m:

                                                                            '   ATTOO.NEY FOR · .� P..PEJLLANT
                                                                                '   '   ' ', ',' ' ' ' ' '   ' ' '     '   '   .   , ,   '   ' ' ' ' ', '   '   '   ' ' . ' '   '




                                                                                        'j




                                                                 PAGE# 142 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 146 of 148 PageID 1407




                                            u.         ·l:J J7Dt').JO!Ta!l) �it: A�rnn,r �t:tl\...n:."fil.n"
                                                       -�4�....;;A��.U���




                  ·C�mpl�jm, Am4 .��S: qf .�: ·��w�4���� � �� «'il.t�· .rep���� ,�mi'tj��1
            :5u�wo �· ·•i. . ��tfoii .(if ·the . :¢<,lltt tbr · -11: purposes � :eti��lo-n: ·with .tMs,:
            •appellato proceed�·
                  ·The: m19e,�gned.:ti9urt :�rter cert:�.J�t �. fw�g9iM: �s; trJ.W•·a�:.(l.Q�f� ·
            · tlm:t                    �--:..: been
                            · P· ·Y,.· �IW.'l
                . . . :. n· �.
                                                              .    :·f: ·· . -(·.�J�:....•..1,. d·...t:
                                                . ..ft.1·ri'�• 'hed. .b� '�           �.l*        �Mve
                                                                                                    ..    ry                 . r�. . .
                                                                                                          : · . ,.,(·. ). ti.:.:
                                                                                                                           .u»_....,. £.0,:�� .   .:1� :
                                                                                                                                                  --v .:Q· r··
                                                                                                                                                          ..

            �- -ut:t. . " JOl�1 �(j)Jo � QI; � �C                                                                                                          .




                                                           PAGE# 143 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 147 of 148 PageID 1408




                                                    . DIST'RlCT :coU:R'f ·OF .APP:E.A� . r::1Rs r 'CllS.TRlCT
                                                                         ·                     :
                                                                    ·200µ Drflyton or.Ive:
                                                             t�l)fll�aee,: .Fiorl<J� : �:�3$9-o�. �o:
                                                              1'ei�.Pl1� ne· No, :.(860)488'-6Hi1
                                                                                                         ,·

                                                                         .Jul.y 1l,.2014
                                                                            '   ',   ',' '



                                                                                               :CASS NO.� 1:C)13;ftj.13:
                                                                                               :��t )�Q.: · :1 ��2t..1:2d.FO.b6�8�;.AX}Q{.
     CHfb::i'n - Brotiku
      , ' , , , ,',   , ,' , ' , '   '   ,' '   '
                                                                                              Sia1e· ofiFiar1tfa.
    A ;pp� lianti Petltlone �s): ,                                                           · Appel:lee/ Reap.o nde:nt($}.
                                                                                               .   •,                    ,•   ' '


                       t
     BY OF;tt)EU�: Q r. THE: c.o uRr:
            :A ppeilaJnt'$ mot,c;m ·fil�d -juiy · te:1 20 1:4, : seskfri� : 10 &tjpp lemenfthiffeoortj on �ppea.1 with
    ·the dep ositions taken:·o n: :Octoba( 3't. ,: 2012. :tnd IO$�Qi�¢{1'�·1. :io� z, i$ g;�v��� .. ·: q�:�l'J�•rfQr
      mo:vant: shau ·sn1me :pre paratipn:,an�Jr,ansmlttsf¢lflhe sµpp.l efriienlil r0¢otd.io:n ·or tl. e(t>t�                        1

    . A ugust t4, 2(H4 1 :8i ntf .iime �or ·$8 !Y i� : oftne lnltlal.: brlefi�. :exl�nded :.ki 30 �ays -followlng
      traiismittai :of' u�$ 1upplemijn�1 .re�d.


             l HERE;�Y C.E RTIF. Y thaU�e. ·tor�g oing ls (a true ;<:o'J:)Y ,:�� l .� �- �:i_l,gln.�l:C(>� O'.'¢r¢l�;r.:
     Served: ·
                                                              A. .banlel$,. f',
                                                                            . : tL ji:ianha          Ao:ri�a·Malil�r. :A. ·P. o...
                                              Clifton :sroij�s
     Hijn·. Pamel;� Jo :aari�U. :A.• . G ..   ft.qn.: .N�ncy:
     Glen ;p,, · ·G fffo:rci: , .A:•. :p, p..                                          Hotj. J�o:nn1e : � u�tr. 01�,�




                                                                    PAGE# 144 OF 144
Case 3:19-cv-00787-MMH-MCR Document 7-23 Filed 02/11/20 Page 148 of 148 PageID 1409



                                      CERTIFICATE OF CLERK

       STATE OF Florida,                                 16-2012-CF-006884-AXXX-MA
       COUNTY OF DUVAL                                   1D13-10 73



       I, RONNIE FUSSELL, Clerk of the Circuit and County Courts for the County of Duval,
       State of Florida, do hereby certify that the foregoing pages 0 1 to 144 inclusive contain a
       correct transcript of the record of the judgment in the case of STATE OF FLORIDA vs.
       CLIFTON MCNEIL BROOKS and a true and correct recital and copy of all such papers
       and proceedings in said cause as appears from records and files of my office and that have
       been directed to be included in said record by the directions furnished to me.

       SUPPLEMENTAL VOLUME 3

       In Witness Whereof, I have set my hand and affixed the Seal of said Court this 21st day of
       July, A.O. 2014.


                                                  RONNIE FUSSELL,
                                                  CLERK OF THE CIRCUIT AND
                                                  COUNTY COURTS OF DUVAL
                                                  COUNTY


                                                        JkJA          A__   v/nmrv1aflj
                                                  BY SANDY c.'e'ONNOLLY
                                                     Deputy Clerk

                                                  501 West Adams St. Room 1262
                                                  Jacksonville, FL 3220 2
                                                  (904) 255-2000
                                                  Email :sandy.connolly@duvalclerk.com
